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                                   UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                    Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                    MOTION INFORMATION STATEMENT

Docket Number(s): 25-1019                                                                         _Caption [use short title]
Motion for' EMERGENCY MOTION PURSUANT TO CIRCUIT RULE 27.1 (d)




Set forth below precise, complete statement of relief sought:



                                                                             Ozturk V. Hyde
STAY PENDING APPEAL RELIEF REQUEST BY APRIL 29, 2025




MOVING PARTY: Hyde                                                    OPPOSING PARTY: Ozturk

         I]    Plaintiff                  Defendant

          v Appe11antH'etitioner     II  Appellate/Re spondent


MOVING ATTORNEY: Alanna T. Duong                                       OPPOSING ATTORNEY: Lia Ernst
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Couu't- Judge/ Agency appealed from: District of Vermont/ Hon. William K. Sessions III

Please check appropriate boxes:                                           FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                          INJUNCTIONS PENDING APPEAL :

           vYes      8
Has movant notified O posing counsel (required by Local Rule 27.1):
                      No (explain):_
                                                                          Has this request for relief been made below?
                                                                          Has this relief been previously sought in this coLu't?
                                                                          Requested return date and explanation of emergency:
                                                                                                                                                v     es
                                                                                                                                                    Yes
                                                                                                                                                           I]
                                                                                                                                                           v No
                                                                                                                                                                No



                                                                           Return date by April 29, 2025. The District Court ordered that ICE transfer the alien by
Opposing coLmsel's position on motion:                                     May 1, 2025.
               Unoppos ed   v Opposedl3Don't Know
Does opposing counsel intend to file a response:
           v Yes l : l N O MDon'tKnow

Is oral argument on motion requested?          v Yes        No (requests for oral argument will not necessarily be granted)

Has argument date of appeal been set?         13 Yes \/ No If yes, enter date:
Signature of Moving Attorney:

Is/Alanna T. Duong _                      Date: 4/24/2025               Service by:   v CM/ECF              Other [Attach proof of service]




Form T-1080 (rev.12-13)
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                 NO. 25-1019
           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE SECOND CIRCUIT


                           RUMEYSA OZTURK,
                            Petitioner-Appellee,

                                      v.

                        PATRICIA HYDE, ET AL.,
                         Respondents-Appellants.


    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF VERMONT
               District Court Case No. 2:25-cv-374


 EMERGENCY MOTION PURSUANT TO CIRCUIT RULE 27.1(d) FOR
STAY PENDING APPEAL WITH RELIEF REQUEST BY APRIL 29, 2025


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                                   No. 25-1019


              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE SECOND CIRCUIT


                             RUMEYSA OZTURK,
                              Petitioner-Appellee,

                                         v.

                          PATRICIA HYDE, ET AL.,
                           Respondents-Appellants.


  EMERGENCY MOTION PURSUANT TO CIRCUIT RULE 27.1(d) FOR
 STAY PENDING APPEAL WITH RELIEF REQUEST BY APRIL 29, 2025


                               INTRODUCTION

      This case manifestly warrants emergency relief. The federal courts are courts

of limited jurisdiction and Congress specifically limited federal-court jurisdiction

over immigration matters.     Yet the district court's order which compels the

government to transfer Rumeysa Ozturk from a detention facility in Louisiana to a

detention facility in Vermont by Thursday, May 1 defies those limits at every turn

in a way that irreparably harms the government. To start, the district court lacked

any authority to issue that extraordinary order. The Immigration and Nationality Act

("INA") strips judicial review over the discretionary determination about where an

alien is held during immigration proceedings as every circuit to address the
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question has held. On top of that, the district court ordered transfer to aid its

consideration of Ozturk's habeas petition thereby contravening the Supreme

Court's decision in Padilla v. Rumsfeld, 542 U.S. 426 (2004), which holds that

petitioners can only file habeas petitions in their district of confinement here,

Louisiana, not Vermont. The district court then violated a further line of Supreme

Court precedent establishing that the INA strips jurisdiction over this entire case,

habeas or not. Among much else, Ozturk challenges her arrest, detention, and

removal. But that is exactly what 8 U.S.C. § 1252(g) bars as the Supreme Court

held in Reno v. American-Arab Anti-Discrimination Comm. ("AADC "), 525 U.S.

471 (1999).

      That order does not just contravene a multitude of precedents confirming the

INA's many jurisdictional bars. That order also threatens to irreparably harm the

Executive Branch by usurping prerogatives over immigration and micromanaging

how, when, and where the Executive Branch holds and transfers aliens.

      Because the district court's order requires action by May 1, emergency relief

is imperative. The government filed its notice of appeal and a motion for continued

stay on April 22, which the district court denied on April 24. A decision from this

Court on this emergency motion is requested by April 29, 2025.




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                                  BACKGROUND
1.    Ozturk's Arrest and Transfers
      Ozturk is a citizen of Turkey. See EX. A, 1] 8. She entered the United States

pursuant to a student visa. Id. 1] 8. After the Department of State revoked her visa

under 8 U.S.C. §1201(i), U.S. Immigration and Customs Enforcement ("ICE"), a

component of the Department of Homeland Security ("DHS"), arrested Ozturk at

approximately 5:25 PM on March 25, 2025, pursuant to 8 U.S.C. § 1226(a). See

EX. B, Westing Decl., 1]5. With her visa revoked, Ozturk is subject to removal under

8 U.S.C. § 1227(a)(1)(B) as an alien "whose nonimmigrant visa        has been revoked

under section 1201(i)." Id. 1] 14.

      Prior to the arrest, ICE determined that there was no available bedspace for

Ozturk at a facility within the New England region where she could be detained and

still appear for a hearing in Immigration Court. Id. 1] 6. ICE therefore decided that

Ozturk would be transferred to the South Louisiana Correctional Facility in Basile,

Louisiana, and made necessary transfer and flight arrangements. Id. W 6, 8.

Transfers out of state, and out of the Enforcement and Removal Operations ("ERO")

Boston area of responsibility, are routinely conducted after arrest, due to operational

necessity. Id. 11 7. As a result, at 5:49 PM on March 25, ICE officials departed

Somerville, Massachusetts, and transported Ozturk to Methuen, Massachusetts,

arriving at 6:22 PM. Id. 'I 10.



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      At 6:36 PM, ICE officials departed from Methuen and transported Ozturk to

Lebanon, New Hampshire. Id. 1] 1. At 9:03 PM, ICE officials departed Lebanon to

transport Ozturk to the ICE field office in St. Albans, Vermont, arriving at 10:28

PM. Id. 'W 12-13. While at the facility in St. Albans, ICE issued Ozturk a Notice to

Appear in the Immigration Court at Oakdale, Louisiana, on April 7, 2025, and

charged her as removable under 8 U.S.C. §1227(a)(1)(B). Id. 'I 14.

      Ozturk spent the night at the ICE field office in St. Albans, Vermont, on

March 25. Id. ' I 13. On March 26 at 4:00 AM, ICE officials departed the ICE Field

Office in St. Albans and transported Ozturk to the airport in Burlington, Vermont.

Id. 116. At 5:31 AM, Ozturk departed Burlington. Id. 1] 17. At 2:35 PM, she arrived

in Louisiana and was transported to the South Louisiana Correctional Facility. Id.

'W 18-19. At the time of Ozturk's arrest, ICE was not aware of a counsel of record.

Id. 'I 20. Once ICE obtained Ozturk's counsel's contact information, it was provided

to Ozturk, who then spoke with her counsel. Id. 'W 20-21.

II.   Proceedings in Massachusetts.
      Ozturk filed her original petition with the District of Massachusetts on

March 25, 2025 at 10:01 PM. Id. Ozturk named as Respondents Patricia Hyde, the

Acting Director of ICE's ERO Boston Field Office, Michael Krol, ICE's Boston

Homeland Security Investigation's Special Agent in Charge, Todd Lyons, the Acting

Director of ICE, and Kristi Noem, the Secretary of Homeland Security. Id. Ozturk



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alleged that she was "currently in custody in the District of Massachusetts" and that

"one or more of the named Respondents is her immediate custodian." Id. 1] 12. But

Ozturk was in fact in Vermont, set to be transferred to Louisiana a decision made

by ICE officials before any petition was filed. EX. B, Westing Decl., 111] 6-8, 10-13.

      On March 28, 2025, Ozturk filed an Amended Petition. EX. A. Ozturk added

President Donald J. Trump and Secretary of State Marco Rubio as Respondents. Id.

She asserted that venue was proper in the District of Massachusetts under the theory

that she "had been detained in the District of Massachusetts by [ICE] and under the

custody and control of ICE officials in Massachusetts at the time of the filing of this

petition." Id. 'I 7 . Ozturk added claims under the First Amendment and the

Administrative Procedures Act ("APA"), amended her claim under the Due Process

Clause, and sought release on bail. Id. Ozturk asked that the district court order that

she be returned to Massachusetts and that she be released. Id. at Prayer for Relief.

      Respondents opposed the habeas petition and moved to dismiss it, and

alternatively, to transfer the matter to the Western District of Louisiana. See EX. C,

Memo. and Order at 6-7 (Apr. 4, 2025). On April 4, 2025, the Massachusetts district

court denied Respondents' motion to dismiss and its alternative request to transfer

the matter to Louisiana. Id. at 25. Because Ozturk was, at the time of the filing,

detained in Vermont, the Massachusetts district court transferred the action to the

District of Vermont under 28 U.S.C. § 1631. Id.


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III.   Proceedings Below.
       On April 18, 2025, after supplemental briefing, the Vermont district court

denied the government's motion to dismiss. See Ozturk v. Trump, -- F.Supp. 3d --,

No. 2:25-CV-374, 2025 WL 1145250 (D. Vt. Apr. 18, 2025). Addressing Ozturk's

transfer to Vermont under 8 U.S.C. § 1631 , the district court concluded that, because

Ozturk's petition could have been brought in the District of Vermont at the time it

was filed, the Massachusetts district court's decision to transfer the petition to

Vermont complied with § 1631. Id. at *5-6.

       Turning to its jurisdiction, the district court concluded that Ozturk's transfer

to the District of Vermont cured her failure to file the habeas petition in the district

of confinement, and that ICE's transfer of Ozturk to the Western District of

Louisiana did not deprive the court of jurisdiction. Id. at *6-7. Relying on Ex Parte

Endo, the district court concluded that, had Ozturk filed her petition in Vermont on

March 25, the district court would have acquired jurisdiction on that date, and

maintained jurisdiction after her transfer to Louisiana because a respondent with the

power to effectuate her release remained within the reach of the District of Vermont.

Id. at *8 (citing Ex Parte Endo, 323 U.S. 283 (1944), Padilla, 542 U.S. at 426). The

district court also concluded that any failure by Ozturk to name an immediate

custodian as a respondent was excused by her lack of knowledge of the custodian's




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identity, invoking the "unknown custodian exception." Ozturk, 2025 WL 1145250,

at *8-9.

      Regarding the jurisdictional bars under 8 U.S.C. §§ 1201(i), 1226(e), 1252(g),

1252(a)(5), and 1252(b)(9), the district court concluded that none of these provisions

barred its review of Ozturk's habeas claims. Ozturk, 2025 WL 1145250, at *10-15.

First, § 1226(e)'s bar on judicial review of discretionary judgment did not apply

because, notwithstanding Ozturk's detention under the discretionary detention

provision 8 U.S.C. § 1226(a), Ozturk had raised questions that were "fairly

characterized as 'constitutional claims or questions of law."' Id. at * 10-11. Second,

§1201(i)'s bar regarding judicial review of visa revocation decisions did not apply

because Ozturk was not challenging her visa being revoked. Id. at *12. Third,

§ 1252(a)(5), (b)(9), and (g)'s bars on judicial review of questions arising from

removal proceedings and removal orders did not apply because Ozturk's claims for

relief did not challenge her removal proceedings and thus did not "arise from" them.

Id. at *11-15. In so ruling, the district court rejected the government's argument

that, under Jennings v. Rodriguez, 583 U.S. 281 (2018), the habeas corpus bar in

§l252(b)(9) includes challenges to a decision to detain or to seek removal. Ozturk,

2025 WL 1145250, at *13-15.

      Addressing the merits of Ozturk's claim for purposes of immediate release

under Mapp v. Reno, 241 F.3d 221 (2d Cir. 2001), the district court concluded that


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Ozturk adequately alleged her detention was retaliatory in violation of the First

Amendment and had an improper purpose in violation of the Due Process Clause.

Ozturk, 2025 WL 1145250, at *18-21. However, the district court found that it did

not have sufficient information to support release under Mapp and deferred ruling

for further factual development. Id. at *22.

      Lastly, relying on the "equitable and flexible nature of habeas relief," the

district court ordered that Ozturk be transferred to ICE custody within the District of

Vermont no later than May 1, 2025. Id. at *23, 25. The district court stayed the

effect of its order for four days. Id. at *25. On April 22, 2025, the government filed

a notice of appeal and moved for a continued stay of its order pending appeal before

this Court, which the district court denied. This motion for stay follows.

                                    ARGUMENT
1.    This Court should stay the district court's order because the Government
      is likely to succeed on appeal.

      An immediate stay pending appeal is warranted. Courts consider four factors

in assessing a motion for stay pending appeal: (1) the movant's likelihood of

prevailing on the merits of the appeal, (2) whether the movant will suffer irreparable

harm absent a stay, (3) the harm that other parties will suffer if a stay is granted, and

(4) the public interest. Hilton v. Bra u nskill, 481 U.S. 770, 776 (1987). When the

government is a party, its interests and the public interest "merge" inken v. Holder,

556 U.S. 418, 435 (2009).



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      This Court should immediately issue a stay. As the district court recognized,

its transfer order here is immediately reviewable even though it is an interlocutory

order. See Ozturk, 2025 WL 1145250, at *25, Dep 't of Educ. V. California, 145 S.

Ct. 966, 968 (2025), Cruz v. Ridge, 383 F.3d 62, 64-65 (2d Cir. 2004). And the

district court's order should plainly be set aside. The INA firmly commits to the

Executive's discretion the decision about where to detain an alien who is undergoing

removal proceedings as multiple circuit courts have held. Further, both the INA,

which governs federal courts' jurisdiction over immigration-related orders, and the

federal habeas statute, 28 U.S.C. § 2241, which governs federal courts' jurisdiction

over habeas petitions, bar jurisdiction here.

       A.    The INA deprives district courts of authority to order transfers of
             aliens pending removal proceedings.

       The district court relied on the "equitable and flexible nature of habeas relief"

to justify its order. Ozturk, 2025 WL 1145250, at *23. But Congress specifically

foreclosed that remedy via the INA. The district court did not grapple with these

limits at all, let alone justify its decision under them.

       Decisions about where to detain an alien pending removal proceedings are

committed to the discretion of the Secretary of Homeland Security. See 8 U.S.C.

§ llOl(a)(l l)(A)-(B), l23l(g)(l) ("The Attorney General shall arrange for
appropriate places of detention for aliens detained pending removal or a decision on

removal."). The INA specifically precludes judicial review over such discretionary

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decisions. Id. § 1252(a)(2)(B)(ii). Indeed, the INA identifies the habeas statute and

provides that there shall be no judicial review of "any" such "discretionary"

decision. Id. Put together, DHS "necessarily has the authority to determine the

location of detention of an alien in deportation proceedings," and the federal courts

lack the power to review or alter that discretionary decision. Gan darillas-Zam brana

v. BIA, 44 F.3d 1251, 1256 (4th Cir. 1995).

      Under a straightforward application of these statutory provisions, federal

courts have held time and again that they lack authority over the Executive's decision

about where to detain aliens during immigration proceedings.           See, et., Wood
v. United States, 175 F. App'x 419, 420 (2d Cir. 2006) (holding that the Secretary

"was not required to detain [Plaintiff] in a particular state"); Van Dinh v. Reno,

197 F.3d 427, 433 (10th Cir. 1999) (holding that "a district court has no jurisdiction

to restrain the Attorney General's power to transfer aliens to appropriate facilities") ,

Rios-Berrios v. INS, 776 F.2d 859, 863 (9th Cir. 1985). The government is not aware

of a single example to the contrary. Simply put, the federal courts have no authority

to order that an alien be held in one ICE facility over another.

      B.     The district court lacks jurisdiction over the petition because it was
             never filed in Ozturk's place of confinement and has never named
             her immediate custodian as a respondent as Padilla requires.

      Further, the order below was unlawful because the district court does not have

habeas jurisdiction over this case in the first place. The Supreme Court has made


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clear that for claims that "fall within the 'core' of the writ of habeas corpus,"

"jurisdiction lies in only one district: the district of confinement." Trump v. J G. G.,

---S. Ct.---, No. 24A931, 2025 WL 1024097, at *1 (U.S. Apr. 7, 2025), see also

Padilla, 542 U.S. at 434-35. For Ozturk, that is the Western District of Louisiana.

That district is the sole district where a habeas petition may be filed. The District of

Vermont, by contrast, has no claim to this case.

      1. In Padilla, the Supreme Court established two rules for habeas jurisdiction:

A habeas petition must file that petition in the district where she is detained, and the

petition must name the custodian detaining her in that district. 542 U.S. at 434-35.

Indeed, Padilla rebuked this Court's relaxed approach to the immediate custodian

rule. See 542 U.S. at 437-38 (rejecting the Second Circuit's "view that we have

relaxed the immediate custodian rule in cases involving prisoners detained for 'other

than federal criminal violations,' and that in such cases the proper respondent is the

person exercising 'the reality of control over the petitioner. "').

       Padilla controls here. When Ozturk filed her original habeas petition in

Massachusetts naming supervisory officials, rather than her immediate

custodian she was in fact in Vermont. And when Ozturk filed her amended habeas

petition in the District of Massachusetts again naming supervisory officials, rather

than her immediate custodian she was in Louisiana. Thus, the Vermont district

court does not have jurisdiction over this matter because: (1) Ozturk filed her


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petition in Massachusetts, although she was detained in Vermont; (2) no petition was

filed in Vermont during Ozturk's time there; (3) Ozturk has been detained in

Louisiana since March 26, where no petition has been filed, and (4) she failed to

name her immediate custodian in her petition (or in her amended petition) when it

was originally filed in Massachusetts, and her current immediate custodian is not

located within Vermont. Under a straightforward application of Padilla, that was

improper. And here, as there, the proper course is "dismissal without prejudice," so

that Ozturk can properly file in her district of confinement. 542 U.S. at 451 .

      2. The district court held otherwise, but its reasoning was flawed.

      First, the district court held that it had jurisdiction under the transfer statute

28 U. S.C. § 1631 on the ground that when Ozturk filed her original habeas petition,

it "could have been brought" in Vermont. Ozturk, 2025 WL 1145250, at *6. But a

general transfer statute cannot be used to override the specific statutory perquisites

for any particular remedy. Section 1631 serves a narrow function: to "aid litigants

who were confused about the proper forum for review." Liriano v. United States,

95 F.3d 119, 122 (2d Cir. 1996). Specifically, the statute allows transferee courts to

excuse "technical obstacles" that would otherwise prevent it from exercising its

existing authority over a case. Gown v. United States, 621 F.3d 1363, 1365 (Fed.

Cir. 2010). The statute thus provides that a court may transfer a case to another court

"in which the action or appeal could have been brought at the time it was filed or


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noticed," and that case "shall proceed as if it had been filed in [that court] to which

it is transferred on the date upon which it was actually filed."

      There is a fundamental difference, however, between using § 1631 to excuse

a threshold technical or procedural defect and using it to try to acquire substantive

authority that the court would otherwise lack. The former is using the statute as

intended, the latter is stretching it beyond its bounds. See, et., Paul V. INS, 348 F.3d

43, 46 (2d Cir. 2003), Liriano, 95 F.3d at 122-23.

      The district court's order falls on the wrong side of that line. Section 2241, at

bottom, is a specific federal statute that authorizes the federal courts to issue a

specific sort of remedy (habeas), if and only if certain preconditions are satisfied.

See Padilla, 542 U.S. at 434-35. Nothing in § 1631 allows a district court to cast

aside those statutory requirements, based on the fiction that the suit was properly

before it. Notably, this Court has held that § 1631 does not allow courts to ignore

substantive limits on jurisdiction. See De Ping Wang v. Dep 't of]-Iomeland Sec.,

484 F.3d 615, 617-18 (2d Cir. 2007) ("Because we would have lacked jurisdiction

over Wang's petition for review had it been filed in this Court 'at the time it was

filed or noticed' in the District Court, transfer under § 1631 was not permitted.");

accord Campbell v. Office of Personnel Management, 694 F.2d305, 309 n.6 (3d Cir.

1982). So much SO here: Nothing in § 1631 vests the district court to issue habeas




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relief, when that court has not and cannot satisfied the specific statutory
prerequisites that Congress set for doing so.

      Second, the district relied on Ex Parte Endo as an exception to the above rules.

323 U.S. at 283. But the Supreme Court has explained that Endo is a "limited"

exception that applies only when a petitioner "properly files" a habeas petition in the

original court. Padilla, 542 U.S. at 441. In those circumstances, the original court

can "retain[]" jurisdiction, notwithstanding the government's subsequent decision to

transfer. Id. But where, as here, habeas jurisdiction did not originally vest, there is

nothing to retain, the court never had jurisdiction in the first place. Here, Ozturk

never filed a proper petition in the District of Vermont when she was detained there.

That is dispositive under Padilla. And nothing in Endo justifies a departure.

      Third, the district court relied on the judge-made "unknown custodian

exception" to excuse Ozturk's failure to name a proper respondent. But that

exception only applies in extraordinary circumstances where the custodian is

unknowable, that is, where one's detention is a prolonged secret. Thus, courts have

reasoned that the exception effectively allows a district court to relax the immediate-

custodian rule (and the district-of-confinement rule) if the identity of the custodian

is something the government will not reveal, and that the petitioner's counsel cannot

feasibly obtain. See Demjanjuk v. Meese, 784 F.2d 1114, 1116 (D.C. Cir. 1986). In

other words, it applies when "a prisoner is held in an undisclosed location by an


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unknown custodian" because "it is impossible to apply the immediate custodian and

district of confinement rules." Padilla, 542 U.S. at 450 n.18. That exception does

not apply where, as here, counsel is unable to track down the proper custodian for a

brief period. Thus, here, failure to name the proper respondent subject to a district

court's jurisdiction is "fatal." Schlanger v. Sear ans, 401 U.S. 487, 489-91 (1971).

      3. Further, the district court lacked habeas jurisdiction for an additional,

independent reason: Ozturk amended her petition. "The plaintiff is the master of the

complaint, and therefore controls much about her suit." Royal Canin U. S. A., Inc.

v. Wullschleger, 604 U.S. 22, 35 (2025) (cleaned up). "If a plaintiff amends her

complaint, the new pleading 'supersedes' the old one: The original pleading no

longer performs any function in the case." Id.

      Those same principles control here. "When a petition is amended," the "cause

proceeds on the amended petition." Washer v. Bullitt County, 110 U.S. 558, 562

(1884). As relevant, that means the amended petition must justify jurisdiction on its

own. Cf Royal Canin, 604 U.S. at 39 (holding when plaintiffs amends complaint to

remove federal claims, then federal court lacks supplemental jurisdiction and must

remand). Yet here, when Ozturk chose to amend her petition, she was in the Western

District of Louisiana, and knew that her immediate custodian was there too. See

EX. A WI, 30-31. Whatever can be said of the District of Vermont's claim over

Ozturk's original petition, there is no available basis for it to claim jurisdiction over


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the amended one. By that time, habeas jurisdiction was only proper in the Western

District of Louisiana.

      c.     The Immigration and Nationality Act further bars the district
             court's review of Ozturk's claims.

      Finally, the district court's order was also improper because the INA stripped

district courts of jurisdiction over cases like this one. Specifically, Ozturk's

preemptive challenge to her arrest, detention, and removal is squarely barred by

8 U.S.C. § l252(g) as the Supreme Court squarely held in a remarkably similar

case. In § 1252(g), Congress clearly provided that "no court" has jurisdiction over

any cause or claim "arising from the decision or action   to commence proceedings,

"notwithstanding any other provision of law," whether "statutory or nonstatutory,"

including habeas, mandamus, or the All Writs Act. By its terms, this jurisdiction-

stripping provision precludes habeas review under 28 U.S.C. § 2241 (as well as

review pursuant to the All Writs Act and APA) of claims arising from a decision or

action to commence removal proceedings. See AADC, 525 U.S. at 482. In short,

the decision as to the method by which removal proceedings are commenced, which

is the genesis of Ozturk's detention, is a discretionary one that is not reviewable by

a district court under §1252(g). See id. at 487.

      Crucially, the Supreme Court has held that a prior version of § 1252(g) barred

claims similar to those brought here. See AADC, 525 U.S. at 487-92. In a case in

which aliens alleged that the "INS was selectively enforcing the immigration laws

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against them in violation of their First and Fifth Amendment rights," id. at 473-74,

and the government admitted "that the alleged First Amendment activity was the

basis for selecting the individuals for adverse action," id. at 488 n.10, the Supreme

Court nonetheless held that the "challenge to the Attorney General's decision to

'commence proceedings' against them falls squarely within § 1252(g)," id. at 487;

see Cooper Butt ex rel Q.TR. v. Barr, 954 F.3d 901, 908-09 (6th Cir. 2020). AADC

confirms that an alien cannot avoid the reach of §l252(g) by alleging his arrest and

the commencement of removal proceedings against him are in retaliation for her

exercise of the First Amendment. See, et., AADC, 525 U.S. at 487-92, Ragbir

v. Homan, 923 F.3d 53, 73 (2d Cir. 2019), Zundel v. Gonzales, 230 F. App'x 468,

475 (6th Cir. 2007), Humphries v. Various Fed. U.S. INS Emps., 164 F.3d 936, 945

(5th Cir. 1999).

      Moreover, the district court does not obtain jurisdiction simply because

Ozturk asserts constitutional arguments under the First and Fifth Amendments.

Instead, the INA provides that "[j]udicial review of all questions of law and fact,

including interpretation and application of constitutional and statutory provisions,

arising from any action" to remove an alien are "available only in judicial review of

a final order [of removal]." 8 U.S.C. § 1252(b)(9) (emphasis added). Thus, "the

sole and exclusive means for judicial review of an order of removal" is a "petition

for review filed with an appropriate court of appeals." 8 U.S.C. §1252(a)(5), (b)(2).



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That includes challenges inextricably intertwined with the final order of removal that

precede issuance of any order of removal and both direct and indirect challenges to

removal order. See, et., Delgado v. Quarantillo, 643 F.3d 52, 55 (2d Cir. 2011),

Ruiz v. Mukasey, 552 F.3d 269, 274 n.3 (2d Cir. 2009), Singh v. Napolitano,

500 F. App'x 50, 52 (2d Cir. 2012). It also includes decisions to detain for purposes

of removal. See Jennings v. Rodriguez, 583 U.S. 281, 294 (2018) (§1252(b)(9) bar

challenges to "decision to detain [alien] in the first place or to seek removal," which

precedes any issuance of a Notice to Appear), Nasrallah v. Barr, 590 U.S. 573, 580

(2020) (recognizing that the REAL ID Act clarified that removal orders may not be

reviewed in district courts, "even via habeas corpus".).

      The district court's finding of "no causal relationship between the removal

proceedings and [Ozturk's] detention" because her detention was discretionary and

thus "did not flow naturally as a consequence of her removal proceedings"

misunderstands the immigration process. Ozturk, 2025 WL 1145250, at *23. First,

detention is constitutionally authorized "for the brief period necessary for   removal

proceedings." Demote v. Kim, 538 U.S. 510, 513 (2003), see 8 U.S.C. § 1357(3),

Jennings, 583 U.S. at 303 ("Section 1226(a) creates a default rule for those aliens by

permitting but not requiring the Attorney to issue warrants for their arrest and

detention pending removal proceedings."). Second, aside from citing the regulation

addressing commencement of proceedings, the district court provides no authority


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establishing that proceedings must commence before an alien is detained. See id.

No such authority exists. Instead, by Ozturk's own words, her challenges are

inextricably intertwined with her removal proceedings, and the district court erred

by failing to dismiss them. Delgado, 643 F.3d at 55. Indeed, as the district court

stated, Ozturk "seeks relief on her claims "challenging her apprehension, detention,"

"release from detention," and sought "corresponding declaratory and injunctive

relief that the Policy that resulted in her apprehension, detention" are illegal. Ozturk,

2025 WL 1145250, at *12.

      D.     The balance of equities weighs in the government's favor.

      The government "suffers a form of irreparable injury" "[a]ny time [it] is

enjoined by a court form effectuating statutes enacted by representatives of its

people." Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers)

(citation omitted).     That is particularly true here because rules governing

immigration "implement[ ] an inherent executive power." United States ex rel.

Knauffv. Shaughn essy, 338 U.S. 537, 542 (1950) (recognizing that "it is not within

the province of any court, unless expressly authorized by law, to review the

determination of the political branch of the Government to exclude a given alien").

Critically, the district court ordered that Ozturk appear remotely for her removal

proceedings in Louisiana, although the immigration court in Louisiana has

jurisdiction over her removal proceedings. See EX. B, Westing Decl., 1114, 8 C.F.R.



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§ l003.l4(a). Notwithstanding the logical difficulty, the district court's order
essentially prioritizes the (improper) proceedings in Vermont over the (proper)

proceedings in Louisiana, and allowing district courts to micromanage how the

Executive Branch operates and transfers aliens often for space-related reasons or

other operational needs would severely undermine the workability of this system.

       Moreover, Ozturk does not challenge the revocation of her visa. With her visa

revoked, she lacks lawful status in the United States and is subject to detention under

8 U.S.C. § 1226 for the duration of removal proceedings. Even under the terms of

the district court's order, Ozturk would remain in custody, accordingly, she would

not be substantially harmed by a stay of the district court's order.

II.    Alternatively, this Court should issue a writ of mandamus and hold that
       the district court lacked authority to order Ozturk's transfer.
       Should this Court not stay the district court's order, it should exercise

jurisdiction under the All Writs Act to issue a writ of mandamus. A writ of

mandamus is "a drastic and extraordinary remedy reserved for really extraordinary

cases.991   Balintulo v. Daimler AG, 727 F.3d 174, 186 (2d Cir. 2013). Mandamus

relief is appropriate "in extraordinary circumstances," when, for example, a district

court's order "amounts to a judicial usurpation of power or a clear abuse of




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  A notice of appeal can be construed as a petition for a writ of mandamus. See,
et., International Products Corp v. Koons, 325 F.2d 403, 407 (2d Cir. 1963).

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discretion, or otherwise works a manifest injustice." Id. (citing Mohawk Indus., Inc.

v. Carpenter, 558 U.S. 100, 111 (2009))

      Mandamus is warranted in the event this Court does not stay the district

court's transfer order, because the transfer order functions as an injunction upon the

government, and the district court lacks jurisdiction under multiple theories, see

supra pp. 10-19. The district court could not "disregard statutory and constitutional

requirements and provisions" and exercise equitable relief that has been limited by

the INA. Armstrong V. Exceptional Child Ctr., Inc., 575 U.S. 320, 327-28 (2015).

But even if it could, mandamus relief would warranted for three reasons. First, the

government has no other adequate means to attain the requested relief. See Cheney

v. U.S. Dist. Ct. for D. C., 542 U.S. 367, 380 (2004). Crucially, the district court

ordered ICE to transfer Ozturk to a facility in Vermont by May 1, 2025. Second,

considering the jurisdictional bars in 8 U.S.C. §§1231(g) and 1252(a)(2)(b)(ii), and

the district court's reliance only on the "equitable and flexile nature of habeas relief,"

Ozturk, 2025 WL 1145250, at *23, the government has satisfied its burden of

showing that its right to issuance of the writ is clear and indisputable. See Chenery,

542 U.s. at 380.       Finally, issuance of the writ is appropriate under these

circumstances because the district court's order amounts to a judicial usurpation of

the Executive's exclusive statutory powers and preeminent constitutional powers

over immigration. See La Buy v. Howes Leather Co., 352 U.S. 249, 259-60 (1957).


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                                 CONCLUSION

      The Court should grant the government's emergency motion and stay the

district court's order pending appeal on or by April 29, 2025.

                                              Respectfully submitted,

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District of Vermont                           Attorneys for Respondents-Appellant




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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 27(d)(2)(A), I certify that

the foregoing was prepared using 14-point Times New Roman type, is

proportionally spaced and contains less than 5,200 words, exclusive of the tables of

contents and citations, and certificates of counsel.

                                        Is/Alanna T Duong
                                        ALANNA T. DUONG
                                        Senior Litigation Counsel
                                        U.S. Department of Justice

April 24, 2025                          Attorney for Respondents-Appellants




                          CERTIFICATE OF SERVICE

      I certify that on April 24, 2025, I filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Second Circuit by using the

appellate ACMS system. I further certify that all participants in the case are

registered ACMS users and that service will be accomplished through that system.

                                        Is/Alanna T Duong
                                        ALANNA T. DUONG
                                        Senior Litigation Counsel
                                        U.S. Department of Justice
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                   Exhibit A
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS




 RUMEYSA GZTURK,
                                  Petitioner,             Case No. 1:25-cv-10695-DJC
     v.
 DONALD J. TRUMP, in his official capacity as             FIRST AMENDED PETITION FOR
 President of the United States, PATRICIA HYDE,           WRIT OF HABEAS CORPUS
 in her official capacity as the New England Field        AND COMPLAINT
 Office Director for U.S. Immigration and
 Customs Enforcement, MICHAEL KROL, in his
 official capacity as HSI New England Special
 Agent in Charge, U.S. Immigration and Customs
 Enforcement, TODD LYONS, in his official
 capacity as Acting Director, U.S. Immigration and
 Customs Enforcement, KRISTI NOEM, in her
 official capacity as Secretary of the United States
 Department of Homeland Security, and MARCO
 RUBIO, in his official capacity as Secretary of
 State,
                                 Respondents.



                                         INTRODUCTION

          1.       RNmeysa UztNrk is an international PhD student who was arrested on March 25,

2025 when six plain-clothes federal officers surrounded her on the street just outside her home in

Somerville, MA. Riimeysa screamed as a man in a hooded sweatshirt grabbed her. Several other

officers encircled her and soon covered their faces with masks. Riimeysa was handcuffed and

escorted with an officer holding each arm into an unmarked vehicle. For more than 20 hours, her

friends, family and legal counsel could not locate or contact her. After an exhaustive search, they

learned that she had ultimately been removed from Massachusetts and sent more than 1,300

miles away to an ICE detention facility in Louisiana.



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       2.      RNmeysa has not been charged with any crime. Nor has there been any allegation

that she is dangerous or a flight risk. Her arrest and detention appear to be based solely on her

co-authorship of an op-ed in her school newspaper, The Tufts Daily, in March 2024. The piece

criticized the University's dismissal of several resolutions that had been adopted by the

undergraduate student Senate as "a sincere effort to hold Israel accountable for clear violations of

international law." It articulated the goals of the resolutions and the disappointment of the

authors before concluding with a request that the administration "trust in the Senate's rigorous

and democratic process" and "meaningfully engage with and actualize the resolutions passed by

the Senate.

       3.      R1Ilmeysa's arrest and detention are designed to punish her speech and chill the

speech of others. Indeed, her arrest and detention are part of a concerted and systemic effort by

Trump administration officials to punish students and others identified with pro-Palestine

activism. When asked about R1Ilmeysa's case, Secretary of State Marco Rubio confirmed

revoking her visa, adding, "we gave you a visa to come and study and get a degree, not to

become a social activist that tears up our university campuses.

       4.      The Department of Homeland Security's website informs international students

and the schools that host them that the termination of student status may result in a requirement

to immediately depart the United States and may lead ICE agents to investigate whether a

student has in fact departed. It makes no mention of arresting or detaining students based solely




1 Rijmeysa fjztiflrk, et al., Op-ed: Try again, President Kumar: Renewing calls for Tufts to adopt
March 4 TCU Senate resolutions, THE TUFTS DAILY (Mar. 26, 2024), www.tuftsdaily.com/
atticle/2024/03/4ftk27sm6jkj ,
2 Secretary Rubio Defends Revoking Turkish Student's Visa, C-SPAN (Mar. 27, 2025),
https1//www.c-span.org/clip/news-conference/secretary-rubio-defends-revoking-turkish-students-
visa/5158479.
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on the loss of status. In this case, however, DHS grabbed, arrested, and detained Riimeysa

before she had received any notice of the revocation of her student visa or her student status.

       5.      R1Ilmeysa's arrest and detention are not a necessary or usual consequence of the

revocation of a visa. But like the revocation of her visa, her arrest and detention are designed to

silence her, punish her for her speech, and ensure that other students will be chilled from

expressing pro-Palestinian viewpoints. Her continued detention is therefore unlawful. Because

the government's arrest and detention violate the First and Fifth Amendments to the United

States Constitution and the Administrative Procedure Act, RUmeysa should be released.

                                         JURISDICTION

       6.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal

question), 28 U.S.C. § 2241 (habeas corpus), Art. I, § 9, cl. 2 of the United States Constitution

(Suspension Clause), and 28 U.S.C. § 2201 (declaratory judgment).

       7.      Venue is proper because Petitioner had been detained in the District of

Massachusetts by Immigration and Customs Enforcement (ICE) in Massachusetts and under the

custody and control of ICE officials in Massachusetts at the time of the filing of this petition.

Defendant Patricia Hyde is the Director of the Boston Field Office of ICE Enforcement and

Removal Operations (ICE ERO), with authority over ICE ERO's operations and detainees in

New England. Additionally, Defendant Michael Krol is the Special Agent in Charge for the

Boston office of ICE Homeland Security Investigations (HSI), with authority over HSI

operations and detainees in New England. At the time this petition was filed, and when the Court

issued an order requiring notice prior to any transfer of the petitioner out of Massachusetts, ECF

No. 3, RNmeysa had only recently been arrested in Massachusetts and had not left the custody




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and control of Defendants Hyde and/or Krol in Massachusetts Sometime after receiving that

order, ICE officials transferred RUmeysa to Louisiana without notifying the Court, her counsel,

or Department of Justice counsel on this case. Meanwhile, Respondents withheld information

about R1Ilmeysa's location from Petitioner's counsel (and apparently, from Department of Justice

attorneys on this case) until nearly 24 hours after she had been detained. On information and

belief, the movement of Petitioner to other states is consistent with, and part of, ICE's pattern

and practice of moving people detained for their speech to distant locations incommunicado and

in secret to frustrate the ability of counsel to file habeas petitions on their behalf.

                                              PARTIES

        8.      Petitioner RNmeysa Uztifirk is a PhD student at Tufts University. She resides in

Somerville, Massachusetts. Riimeysa entered the United States on an F-1 nonimmigrant student

visa.

        9.      Respondent Donald J. Trump is named in his official capacity as the President of

the United States. In this capacity, he is responsible for the policies and actions of the executive

branch, including the Department of State and Department of Homeland Security.

        10.     Respondent Patricia Hyde is named in her official capacity as the New England

Field Office Director for U.S. Immigration and Customs Enforcement.

        11.     Respondent Michael Krol is named in his official capacity as the New England

Special Agent in Charge for Homeland Security Investigations for U.S. Immigration and

Customs Enforcement.




3 Counsel for the government has stated that he "has been informed that Petitioner was detained
outside of Massachusetts at the time the Petition was filed," but has not provided evidence of
RUmeysa's location at the time the petition was filed, or suggested that she was not in the
custody and control of ICE officials in Massachusetts, ECF No. 9 at l n. l .
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        12.       Respondent Todd Lyons is named in his official capacity as the Acting Director

for U.S. Immigration and Customs Enforcement. As the Senior Official Performing the Duties of

the Director of ICE, he is responsible for the administration and enforcement of the immigration

laws of the United States and is legally responsible for pursuing any effort to remove the

Petitioner, and as such is a custodian of the Petitioner.

        13.       Respondent Kristi Noem is named in her official capacity as the Secretary of

Homeland Security. In this capacity, she is responsible for the administration of the immigration

laws pursuant to Section l03(a) of the INA, 8 U.S.C. § ll03(a) (2007), is legally responsible for

pursuing any effort to detain and remove the Petitioner, and as such is a custodian of the

Petitioner.

        14.       Respondent Marco Rubio is named in his official capacity as the United States

Secretary of State. In this capacity, among other things, he has the authority to determine, based

on "reasonable" grounds, that the "presence or activities" of a noncitizen "would have serious

adverse foreign policy consequences for the United States." Following such a determination,

DHS may initiate removal proceedings under 8 U.S.C. § 1227(a)(4)(C)(i).

                                               FACTS

                                          Riimeysa ézrurk

        15.       RUmeysa is a doctoral candidate in Child Study and Human Development at Tufts

University. Rijmeysa received a master's degree from Columbia University on a Fulbright

scholarship .

        16.      On March 26, 2024, almost exactly one year before her arrest, Rljmeysa co-

authored an op-ed in The Tufts Daily. The piece criticized Tufts University's response to several

student Senate resolutions concerning human rights violations in Gaza. The authors urged



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meaningful engagement by the University administration with the Senate resolutions .

       17.     In February 2025, the website Canary Mission published a profile on RNmeysa,
                                                                                                79
including her photograph, claiming she "engaged in anti-Israel activism in March 2024 ....

The profile describes Rljmeysa as "a supporter of the Boycott, Divestment, Sanctions (BDS)

movement." Its sole support for the contention that RNmeysa "engaged in anti-Israel activism"

was a link and screenshots of the March 2024 opinion piece.

       18.     Canary Mission's publication caused Rljmeysa to fear for her safety.

          Riimeysa 's Arrest Near Her Home and Continued Detention in Louisiana

       19.     On March 25, 2025 at approximately 5: 15 p.m., a hooded, plainclothes officer

approached Rflmeysa near her Somerville apartment.4

       20.     The hooded officer grabbed Riimeysa by her wrists as she screamed. Additional

officers surrounded Riimeysa as she pleaded with them. The officers placed Riimeysa in

handcuffs and took her away in an unmarked vehicle.

       21.     Riimeysa's friends frantically tried to find out more information about what had

happened to her. At approximately 10:02 pm., counsel for Rijmeysa filed a petition for writ of

habeas corpus in this Court.

       22.     At approximately 10:55 p.m., the Court ordered that Rljmeysa not be moved

outside the District of Massachusetts without 48 hours' notice.

       23.     For more than 24 hours after her arrest, R1Ilmeysa's friends, family and legal

counsel did not hear from her and could not speak to her.

       24.     Because R1Ilmeysa suffers from asthma, her family and friends worried that she




4 WCVB Channel 5 Boston, Surveillance shows Tufts graduate student detained, YouTube (Mar.
26, 2025), https://www.youtube.com/watch?v=PuFIs70kzYY.
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could become ill without access to her medication.

       25.        On the evening of her arrest, and on the following day, counsel made numerous

attempts to locate Rljmeysa.

       26.        These efforts included contacting the offices of ICE ERO and ICE HSI. Counsel

received no response to these inquiries. Counsel also called all major known ICE detention

facilities in New England but were informed that RNmeysa was not there. Counsel attempted to

locate her whereabouts through ICE's Online Detainee Locator System. Although the Detainee

Locator indicated that Riimeysa was in ICE custody, the field for "Current Detention Facility"

remained blank.

       27.        A representative of the Turkish consulate went personally to ICE offices in

Burlington, Massachusetts and was reportedly informed that RNmeysa was not in that office and

that ICE could not provide further information about her whereabouts. Department of Justice

counsel on this matter also informed counsel for R1Ilmeysa that they could not locate her.

       28.        Fearing Riimeysa could have had a medical episode, counsel contacted numerous

area hospitals.

       29.        At around 3 p.m. on March 26, counsel moved this Court for an order requiring

Respondents to report on R1Ilmeysa's whereabouts and permit her counsel to speak with her.

       30.        Shortly thereafter, Department of Justice counsel informed R1Ilmeysa's counsel

that she had been moved to a staging facility in Alexandria, Louisiana to be transferred to South

Louisiana.

       31.        Counsel was finally able to speak to RNmeysa late in the evening of March 26.

Counsel learned that she had suffered an asthma attack while en route to Louisiana.




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                     Riimeysa's Wsa Revocation and Removal Proceedings

       32.     ICE uses the Student and Exchange Visitor Information System ("SEVIS") to

maintain information on students who attend designated educational programs.

       33.     A letter dated March 25, 2025, and addressed but not provided to Riimeysa stated

that her SEVIS designation "has been terminated pursuant to 237(a)(1)(C)(i) and/or

237(a)(4)(C)(i) of the Immigration and Nationality Act.995 See Exhibit A. On information and

belief, a copy of the letter was provided to Tufts University.

       34.     A Notice to Appear ("NTA") functions as a charging document for removal

proceedings. See 8 U.S.C. § 1229(a).

       35.     On March 25 ICE provided Rflmeysa with an NTA. See Exhibit B. The NTA

alleges, in part, that R1Ilmeysa's visa "was revoked by the United States Department of State" on

March 21, 2025. The NTA charges Rflmeysa as deportable under INA § 237(a)(1)(B).6 The

NTA provides no other basis for R1Ilmeysa's removal.

       36.     On information and belief, RNmeysa received no notice that her visa had been

revoked prior to her arrest or the service of the NTA.

       37.     The NTA indicates that Riimeysa is scheduled for an initial hearing on April 7,

2025 at 8:30 a.m.




5 Section 237(a)(l)(C)(i) provides: "Any alien who was admitted as a nonimmigrant and who has
failed to maintain the nonimmigrant status in which the alien was admitted ... or to comply with
the conditions of any such status, is deportable." 8 U.S.C. § l227(a)(l)(C)(i). Section
237(a)(4)(C)(i) provides: "An alien whose presence or activities in the United States the
Secretary of State has reasonable ground to believe would have potentially serious adverse
foreign policy consequences for the United States is deportable." 8 U.S.C. § l227(A)(4)(c)(i).
6 Section 237(a)(l)(B) provides: "Any alien who is present in the United States in violation of
this chapter or any other law of the United States, or whose nonimmigrant visa (or other
documentation authorizing admission into the United States as a nonimmigrant) has been
revoked under section l20l(i) of this title, is deportable." 8 U.S.C. § l227(a)(l)(B).
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Riimeysa 's Arrest and Detention are Part of the Trump Administration 's Policy of Retaliating
                  Against Non citizens Wno Advocate for Palestinian Rights

       38.     R1Ilmeysa's arrest and detention reflect and are a part of the Trump

administration's concerted effort to silence protected political speech.

       39.     In the fall of 2023, thousands of students across the U.S. from a wide range of

racial, ethnic, religious, and socioeconomic backgrounds began organizing on their campuses,

many criticizing what they saw as the steadfast support of their universities and the United States

government for Israel's policies. Opponents of these students' messages-including President

Trump-have characterized their message in favor of Palestinian rights as inherently supportive

of Hamas and antisemitic.

       40.     During his campaign for re-election, President Trump repeatedly vowed to use

visa revocations as a tactic to pursue his policy of silencing pro-Palestinian activities on

university campuses.

       41.     For example, at a rally in Las Vegas on October 28, 2023, Trump pledged to

"terminate the visas of all of those Hamas sympathizers, and we'll get them off our college
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campuses, out of our cities, and get them the hell out of our country.

       42.     In the spring of 2024, Trump promised campaign donors that he would deport

pro-Palestinian student demonstrators to get them to "behave." Upon information and belief, at a

round table event in New York, he stated, "One thing I do is, any student that protests, I throw

them out of the country. You know, there are a lot of foreign students. As soon as they hear that,
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they're going to behave.

       43.     Similarly, in a social media post on his official X account on October 15, 2023,

then-Senator Marco Rubio, referring to ongoing student protests in support of Palestinians, stated




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the U.S. should "cancel the visa of every foreign national out there supporting Hamas and get
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them out of America.

       The Trump Administration Announces its Policy to Target Speech of Noncitizens

       44.     Shortly after assuming office on January 20, 2025, President Trump signed two

executive orders aimed at fulfilling the above campaign promises: Executive Order 14161, titled

"Protecting the United States from Foreign Terrorists and Other National Security and Public

Safety Threats," signed on January 20, 2025, and Executive Order 14188, titled "Additional

Measures to Combat Anti-Semitism," signed on January 29, 2025 .

       45.     Executive Order 14161 states that it is the United States' policy to "protect its

citizens" from noncitizens who "espouse hateful ideology." It further articulates the

administration's desire to target noncitizens who "advocate for, aid, or support designated

foreign terrorists and other threats to our national security," those who hold "hateful" views, and

those who "bear hostile attitudes toward [America's] citizens, culture, government, institutions,

or founding principles." The order's overly broad framing of "hostile attitudes" towards the

American government could encompass any form of political dissent, including advocacy for

Palestinian human rights .
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       46.     Executive Order 14188 states that, in order to "combat campus anti-Semitism,
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the administration will target for investigation "post-October 7, 2023, campus anti-Semitism.

The order adopts a definition of antisemitism that, applied to speech, would punish

constitutionally protected criticism of the Israeli government and its policies. In a fact sheet

accompanying Executive Order 14188, the White House described the measure as "forceful and

unprecedented," specifically targeting "leftist, anti-American colleges and universities." It
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framed the order as a "promise" to "deport Hamas sympathizers and revoke student visas,



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sending a clear message to all "resident aliens [sic] who participated in pro-jihadist protests" that
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the federal government "will find you... and deport you.

       47.     In or around February 2025, Respondents began implementing a policy by which

they would retaliate against and punish noncitizens like RUmeysa for their constitutionally

protected speech (the Policy). Under the Policy, Secretary of State Marco Rubio would revoke

the visas or green cards of individuals who expressed support for Palestinian rights. These

revocations would then permit the Department of Homeland Security to arrest, detain and deport

such individuals .

       48.     On March 6, 2025, Secretary Rubio posted to X: "Those who support designated

terrorist organizations, including Hamas, threaten our national security. The United States has

zero tolerance for foreign visitors who support terrorists. Violators of U.S. law-including

international students-face visa denial or revocation, and deportation."

       49.     Additionally, certain groups began publicizing the names of pro-Palestinian

activists they wanted the government to deport. Specifically, these groups compiled lists of

students and faculty who had engaged in Palestine-related advocacy and, upon information and

belief, submitted these lists to ICE's tip line, or publicly flagged names to U.S. Government

official accounts.

       50.     As illustrated infra, one way that Secretary Rubio is implementing the Policy is

by wrongly invoking 8 U.S.C. § 1227(a)(4)(C)(i) (hereinafter "the Foreign Policy Ground"),

which provides that "An alien whose presence or activities in the United States the Secretary of

State has reasonable ground to believe would have potentially serious adverse foreign policy

consequences for the United States is deportable." This Provision expressly prohibits the

Secretary of State from excluding or conditioning entry based on a noncitizen's "past, current, or



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expected beliefs, statements, or associations, if such beliefs, statements, or associations would be

lawful within the United States," unless the Secretary personally certifies to Congress that

admitting the individual would compromise a compelling U.S. foreign policy interest. See 8

U.S.C. § 1227(a)(4)(c)(ii) (citing 8 U.S.C. § 1182(a)(3)(c>(ii1)i.

       51.     Legislative history makes clear that Congress intended to limit the Executive's

authority to exclude noncitizens based on their speech or beliefs. When the Moynihan

Amendment was passed in 1987, the Senate Committee wared that "[f]or many years, the

United States has embarrassed itself by excluding prominent foreigners from visiting the United

States solely because of their political beliefs." The amendment was intended "to take away the

executive branch's authority to deny visas to foreigners solely because of the foreigner's political

beliefs or because of his anticipated speech in the United States," while affirming "the principles

of the First Amendment." (S. Rep. No. 100-75 at 11, 100th Cong., 1st Sess. (1987), reprinted in

133 Cong. Rec. $2326 (1987)).

       52.     Congress further evinced its intent to restrict the Executive's ability to exclude

foreign speakers by asserting that such exclusions should not be based solely on "the possible

content of an alien's speech in this country," that the Secretary's authority to determine that entry

would compromise foreign policy interests should be used "sparingly and not merely because

there is a likelihood that an alien will make critical remarks about the United States or its

policies," and that the "compelling foreign policy interest" standard should be applied strictly.

(H.R. Conf. Rep. No. 101-955, 101st Cong., 2nd Sess. (1990), reprinted in 1990 U.S.C.C.A.N.

6784,6794).




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       The Government Begins to Implement its Policy oflntimidation and Retaliation

       53.     On March 5, 2025, the State Department revoked the student visa of Ranjani

Srinivasan, an Indian national and doctoral student at Columbia, under the Foreign Policy

Ground. Srinivasan had previously expressed support for the rights of Palestinians. Two days

later, federal immigration agents showed up at her apartment looking for her, but she did not

open the door. They showed up again the following night, but she was not home. On March 13,

2025, agents returned to her home with a judicial warrant. DHS released a statement

characterizing Srinivasan as a terrorist sympathizer and accused her of advocating violence and

being "involved in activities supporting Hamas," but the agency has not provided any evidence

for its allegations, and Srinivasan disputes them.

       54.     On March 8, 2025, ICE agents in plain clothes arrested Mahmoud Khalil, a legal

permanent resident and recent Columbia University graduate, at his Columbia University student

housing. Khalil had previously expressed support for the rights of Palestinians. The agents

initially told Khalil that they were detaining him because his student visa had been revoked by

the State Department, but when Khalil's attorney informed the agents that he was a green card

holder, the agents responded that the State Department had revoked Khalil's green card, too. The

Notice to Appear later issued by the government to Khalil cites the Foreign Policy Ground as the

basis for his arrest and removal. The agents handcuffed Khalil and placed him in an unmarked

vehicle. Over the course of that evening and into the early hours of the following morning, Khalil

would first be taken to an ICE field office in Manhattan and then to a detention facility in New

Jersey, returning to New York to board a flight to Texas and finally to Louisiana. To date, Khalil

remains detained in Louisiana.




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       55.     On March 8, 2025, ICE signed an administrative arrest warrant for Yunseo

Chung, a legal permanent resident and Columbia University student who has lived in the United

States since she was seven. Chung had previously expressed support for the rights of

Palestinians. On March 10, a federal law enforcement official advised Chung's attorney that her

legal permanent resident status had been revoked. On March 13, federal law enforcement agents

executed a judicial search warrant at Chung's dormitory. Chung filed a complaint and petition

for habeas corpus in the United States District Court for the Southern District of New York, and

sought, among other things, a temporary restraining order preventing immigration enforcement

officials from taking her into custody or transferring her out of the district. On March 25, 2025 ,

the court issued such an order. Chung v. Trump et al., Case No. 25-cv-02412, ECF 19

(S.D.N.Y.).

       56.     On March 17, 2025, ICE arrested Badar Khan Surf, an Indian national and

postdoctoral fellow at Georgetown University's School of Foreign Service. Surf's student visa

was revoked pursuant to the Foreign Policy Ground. In a statement given to Fox News, DHS
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asserted that Surf had "spread[] Hamas propaganda," "prompt[ed] antisemitism on social media,
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and had "close connections to a known or suspected terrorist, who is a senior advisor to Hamas.

Surf has no criminal record and has not been charged with a crime. DHS's allegations appear to

reference the fact that Surf's father-in-law, Ahmed Yousef, is a former advisor to Ismael

Haniyeh, the Hamas leader assassinated by Israel last year in Iran. But Yousef left his position in

the Hamas-run government in Gaza more than a decade ago and has publicly criticized Hamas's

decision to attack Israel on October 7, 2023. DHS has not alleged that Surf himself has taken any

action on behalf of Hamas. To date, Surf remains in immigration detention.




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        57.
                  On March 21, 2025, the Justice Department wrote to counsel for Momodou Taal,

a student visa holder and doctoral candidate at Cornell University, to convey ICE's intention to

serve a deportation notice on Tool and request that Tool voluntarily surrender to ICE custody.

Taal had previously expressed support for the rights of Palestinians. The Justice Department

wrote to Taal's lawyers after Taal sought a temporary restraining order to enjoin DHS from

attempting to detain, remove, or otherwise enforce the Executive Orders against him. In response

to that application, the government informed the court that the State Department had revoked

Taal's student visa.

  High-Level Government Ojicials Confrm Riimeysa Was Targeted Because otHer Speech

        58.        Multiple government officials, including Secretary of State Marco Rubio, have

confirmed that R1Ilmeysa was targeted for arrest and detention solely because of her actual or

perceived First Amendment activity.

        59.       On March 21, 2025, the day R1Ilmeysa's visa was revoked according to her NTA,

Secretary Rubio announced on X.com: "We will continue to cancel the visas of those whose

presence or activities have potentially serious adverse foreign policy consequences for our
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country ... And we will continue to use every legal means available to remove alien enemies.

        60.       After R1Ilmeysa's arrest, a DHS spokesperson stated, "DHS and ICE investigations

found fjztiflrk engaged in activities in support of Hamas, a foreign terrorist organization that

relishes the killing of Americans .... A visa is a privilege, not a right. Glorifying and supporting

terrorists who kill Americans is grounds for visa issuance to be terminated. This is commonsense

security.797




7 Mike Toole & Beth Germane, Tufts University student taken into immigration custody by
federal agents in Massachusetts (Mar. 27, 2025), https://www.cbsnews.com/boston/news/tufts-
university-graduate-student-somerville-ice/.
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       61.     In a March 27 news conference, Secretary Rubio reaffirmed that the reason for

R1I1meysa's arrest and detention washer actual and perceived pro-Palestinian speech and political

activity.8 At the conference, a member of the media asked Secretary Rubio to explain the specific

actions that led to R1Ilmeysa's visa being revoked. The Secretary responded "oh, we revoked her

visa," and continued:

       We gave you a visa to come and study and get a degree not to become a social activist
       that tears up our university campuses. And if we've given you a visa and then you decide
       to do that we're going to take it away. [...] We don't want it. We don't want it in our
       country. Go back and do it in your country. But you're not going to do it in our country."

       62.     Secretary Rubio added: "Every time I find one of these lunatics I take away their

visa," suggesting that hundreds of visas have been revoked in furtherance of the administration's

Policy of targeting noncitizens for their pro-Palestinian speech.9

                               DHS Did Not Follow Ordinary Procedure

       63.     DHS maintains a website, titled "Study in the States," which "explains the student

visa process, enhances coordination among government agencies, and keeps international

students and the U.S. academic community better informed about pertinent rules and

regulations." About, Study in the States, U.S. Dep't of Homeland Sec'y (last accessed Mar. 27,

2025), https://studyinthestates.dhs.gov/footer/about.

       64.     According to Study in the States, student visa holders must maintain their status,

which means "Fulfilling the purpose for why the Department of State issued you your visa" and




8 Secretary Rubio Defends Revoking Turkish StudentS Visa, C-SPAN (Mar. 27, 2025),
https1//www.c-span.org/clip/news-conference/secretary-rubio-defends-revoking-turkish-students-
visa/5158479.
9 See Madeline Halpern, Marco Rubio says US revoked at least 300foreign students ' visas, BBC
(Mar. 27, 2025), https://www.bbc.com/news/articles/c75720q9d7lo, see also Secretary of State
Marco Rubio Remarks to the Press, U.S. Dep't of State (March 28, 2025),
https://www.state.gov/secretary-of-state-marc0-rubio-remarks-to-the-press-3/.
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"Following the regulations associated with that purpose." Maintaining Status, Study in the

States, U.S. Dep't of Homeland Sec'y (last accessed Mar. 27, 2025),

https1//studyinthestates.dhs.gov/students/maintaining-status. For F-1 student visa holders, that

purpose is "to study." Id.

       65.     The Study in the States website lists consequences that can occur "[w]hen an F-

1/M-1 SEVIS record is terminated," including, the student "loses all on-and/or off-campus

employment authorization," the student "cannot re-enter the United States on the terminated

SEVIS record," and ICE agents "may investigate to confirm the departure of the student."

Terminate a Student, Study in the States, U.S. Dep't of Homeland Sec'y (last accessed Mar. 27,

2025), https://studyinthestates.dhs.gov/sevis-help-hub/student-records/comp1etions-and-

terminations/terminate-a-student. Termination may require an F-1 visa holder to immediately

depart the United States. Id.

       66.     DHS does not indicate on its Study in the States website that loss of student status

may result in immediate arrest and detention. DHS departed from these expected procedures in

arresting RUmeysa without warning or notice about the change in her student status.


                                     CLAIMS FOR RELIEF

                                        FIRST CLAIM
             Violation of the First Amendment to the United States Constitution

       67.     Petitioner repeats and re-alleges the allegations contained in the preceding

paragraphs of this Complaint-Petition as if fully set forth herein.

       68.     The First Amendment to the United States Constitution provides in part that

"Congress shall make no law ... abridging the freedom of speech ... or the right of the people .

.. to petition the Government for a redress of grievances." U.S. Const. Amend. I. The First



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Amendment protects past, present, and future speech, including speech by noncitizens.

        69.      The Policy, and the government's implementation of the Policy as to Rifimeysa-

specifically, the government's targeting, arrest, transfer, and ongoing detention of RNmeysa-

violate the First Amendment because they:

                 a. retaliate against and punish R1Ilmeysa's past protected speech,

                 b. prevent her from speaking now (through detention),

                 C. attempt to chill (through past punishment and ongoing threat) or prevent

                    (through eventual removal) her future speech in the United States,

                 d. deprive those with whom she would speak of her present and future speech on

                    matters of public concern, and

                 e. chill other individuals who express support for Palestinian rights.

        70.      These speech-related consequences are not side effects of an action with some

other purpose, they are, instead, the purpose of the Policy and the government's actions

implementing the Policy as to Riflmeysa and those similarly situated. In government officials' own

telling, the Policy is intended to silence viewpoints with which the Trump administration

disagrees.

                                        SECOND CLAIM
                       Violation of Fifth Amendment Right to Due Process

        71.      Petitioner repeats and re-alleges the allegations contained in the preceding

paragraphs of this Complaint-Petition as if fully set forth herein.

        72.      The Constitution establishes due process rights for "all 'persons' within the

United States, including [noncitizens], whether their presence here is lawful, unlawful,

temporary, or permanent." Zadvydas v. Davis, 533 U.S. 678, 693 (2001).

        73.      The government's detention of RNmeysa is unjustified. The government has not

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demonstrated that Rflmeysa-who has no criminal history, has close ties in the Tufts community,

and wishes to complete her doctoral degree at Tufts-needs to be detained. See Zadvydas, 533

U.S. at 690 (finding immigration detention must further the twin goals of (1) ensuring the

noncitizen's appearance during removal proceedings and (2) preventing danger to the

community). There is no credible argument that R1Ilmeysa cannot be safely released back to her

community.

       74.     R1I1meysa's detention is also punitive and bears no "reasonable relation" to any

legitimate purpose for detaining her. Jackson v. Indiana, 406 U.S. 715, 738 (1972) ("nature and

duration" of civil confinement must "bear some reasonable relation to the purpose for which the

individuals is committed"), Zadyydas, 533 U.S. at 690 (finding immigration detention is civil

and thus ostensibly "nonpunitive in purpose and effect"). Her "detention is not to facilitate

deportation, or to protect against risk of flight or dangerousness, but to incarcerate for other

reasons." Demure v. Kim, 538 U.S. 510, 532-33 (2003) (Kennedy, J., concurring).

       75.     R1Ilmeysa's arrest and detention under the Policy violate due process limitations

on civil detention because they are designed to punish and silence her speech with which the

government disagrees, and to chill others from expressing these viewpoints-impermissible

bases for taking away individual liberty.

       76.     The Policy and its implementation as to Rijmeysa violate her right to due process

for additional reasons as well. The government's policy of applying the Foreign Policy Ground

to make such determinations concerning people like Rifimeysa-who was in valid F-1 status,

living peacefully in the country-is unconstitutionally vague where it is due to constitutionally

protected speech.




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                                       THIRD CLAIM
            Violation of the Administrative Procedure Act and the Accardi Doctrine

          77.    Petitioner repeats and re-alleges the allegations contained in the preceding

paragraphs of this Complaint-Petition as if fully set forth herein.

          78.    The government has adopted a policy of targeting noncitizens for arrest, detention

and removal based on First Amendment-protected speech advocating for Palestinian rights. This

policy is arbitrary and capricious, an abuse of discretion, contrary to constitutional right, contrary

to law, and in excess of statutory jurisdiction. 5 U.S.C. § 706 (2)(A), (B), (C), and violates the

Accardi doctrine and federal agencies' own rules, see Accardi v. Shaughnessy, 347 U.S. 260

(1954).

          79.    In addition, Riimeysa's SEVIS termination notice invoked the Foreign Policy

Ground.

          80.    In order to be invoked in an instance involving a noncitizen's past statements, the

Foreign Policy Ground requires the Secretary of State to determine that a person's "presence or

activities would potentially have serious adverse foreign policy consequences for the United
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States" and "would compromise a compelling United States foreign policy interest.

          81.    Here, there is no indication that the Secretary of State ever made such a

determination.

          82.    To the extent the Secretary of State failed to make such a determination, the

invocation of the Foreign Policy Ground is arbitrary and capricious, an abuse of discretion,

contrary to constitutional right, contrary to law, and in excess of statutory jurisdiction. 5 U.S.C §

706 (2)(A), (B), (c).




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       83.     To the extent the Secretary of State purported to make such a determination, it is

arbitrary and capricious, an abuse of discretion, contrary to constitutional right, contrary to law,

and in excess of statutory jurisdiction. 5 U.S.C § 706 (2)(A), (B), (C).

                                      FOURTH CLAIM
                             Release on Bail Pending Adjudication

       84.     Petitioner repeats and re-alleges the allegations contained in the preceding

paragraphs of this Complaint-Petition as if fully set forth herein.

       85.     Federal courts sitting in habeas possess the "inherent power to release the

petitioner pending determination of the merits." Savina v. Souza, 453 F. Supp. 3d 441, 454 (D.

Mass. 2020) (quoting Woodcock v. Donnelly, 470 F.2d 93, 94 (1st Cir. 1972) (per curia)), see

also Da Grace v. Souza, 991 F.3d 60 (1st Cir. 2021). Federal courts "have the same inherent

authority to admit habeas petitioners to bail in the immigration context as they do in the criminal

habeas case." Id. (quoting Mapp v. Reno, 241 F.3d221, 223 (2d Cir. 2001)). "A court

considering bail for a habeas petitioner must inquire into whether the habeas petition raise[s]

substantial claims and [whether] extraordinary circumstances exist[ ] that make the grant of bail

necessary to make the habeas remedy effective." Id. (quoting Mapp, 241 F.3d at 230) (cleaned

up).

       86.     This petition raises substantial constitutional and statutory claims challenging

R1Ilmeysa's retaliatory detention. Furthermore, extraordinary circumstances exist that make

R1Ilmeysa's release essential for the remedy to be effective. Even if she is ultimately freed, as

long as RNmeysa remains in ICE's physical custody, she will be prevented from speaking freely

and openly and her unlawful detention will serve to chill others. In addition, Riimeysa has

asthma and has already suffered an asthma attack while in ICE custody, raising concerns about

future asthma attacks. Finally, RUmeysa's confinement in Louisiana prevents her from

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adequately litigating her removal proceedings by impeding her access to counsel and evidence

located within the District of Massachusetts.

                                    PRAYER FOR RELIEF

Wherefore, Petitioner respectfully requests this Court to grant the following:

      1)      Assume jurisdiction over this matter,

      1)      Require Respondents to return Petitioner to this District pending these proceedings,

      2)      Order the immediate release of Petitioner pending these proceedings,

      3)      Declare that Respondents' actions to arrest and detain Petitioner violate the First

              Amendment and the Due Process Clause of the Fifth Amendment,

      4)      Vacate and set aside Respondents' unlawful Policy of targeting noncitizens for

              arrest, detention and removal based on First Amendment-protected speech

              advocating for Palestinian rights,

      5)      Restore Petitioner's SEVIS record,

      6)      Enjoin Respondents from taking any enforcement action against Petitioner arising

              directly or indirectly from an investigation into the applicability of the Foreign

              Policy Ground,

      7)      Award reasonable attorneys' fees and costs for this action, and

      8)      Grant such further relief as the Court deems just and proper.


                                                        Respectfully submitted,

                                                        [signature block on next page]




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                                              /s/ Jessie l Ross ran
                                              Jessie J. Ross ran (BBO #670685)
                                              Adriana Lafaille (BBO #680210)
                                              Rachel E. Davidson (BBO #707084)
                                              Julian Bava (BBO #712829)
                                              AMERICAN CIVIL LIBERTIES UNION
                                                FOUNDATION OF MASSACHUSETTS, INC.
                                              One Center Plaza, Suite 850
                                              Boston, MA 02108
                                              (617) 482-3170
                                              jrossman@aclum.org
                                              alafaille@aclum.org
                                              rdavidson@aclum.org
                                              jbava@aclum.org

                                              Mahsa Khanbabai (BBO #639803)
                                              115 Main Street, Suite 1B
                                              North Easton, MA 02356
                                              (508) 297-2065
                                              mahsa@mk-immigration.com

                                              Brian Hauss*
                                              Esha Bhandari*
                                              Brett Max Kaufman*
                                              Noon Zafar*
                                              Sidra Mahfouz*
                                              AMERICAN CIVIL LIBERTIES UNION
                                                FOUNDATION
                                              125 Broad Street, Floor 18
                                              New York, NY 10004
                                              (212) 549-2500
                                              bhauss@aclu.org
                                              ebhandari@aclu.org
                                              bkaufman@aclu.org
                                              nzafar@aclu.org
                                              smahfooz@aclu.org


                                              Counsel for Petitioner

                                              *Pro hac vice application forthcoming

Dated: March 28, 2025




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 28, 2025, a true copy of the above document was filed via

the Court's CM/ECF system and that a copy will be sent automatically to all counsel of record.


March 28, 2025                              /s/ Jessie gRossman
                                            Jessie J.Rossman




                                              24
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               EXHIBIT A
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                                                                \I:n1cInn11t]r Act.

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    proceedings.

    Should. you wish la speak to 9


    Sincerely.



    Shrdelrt -and Exchange Viailoi' Pn.'¢gl'al11

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              EXHIBIT B
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                                              DEPARTMENT OF HOMELAND SECURITY                              DOB :
                                                        NOTICE TO APPEAR
                                                                                                           Event No: XBO2503000017

 In removal proceedings under section 240 of the Immigration and Nationality Act:
  Subject ID:
                                                         FINS :                                    Fee No:    _
 In the Matter of:
 Respondent: R0\4E¥sA ozruax                                                                                           currently residing at:
 See Continuation Page Made a Part Hereof
                              (Number, street, city, state and ZIP code)                                   (Area code and phone number)

 l] You are an arriving alien.
 la You are an alien present in the United States who has not been admitted or paroled.
  X You have been admitted to the United States, but are removable for the reasons stated below.

 The Department of Homeland Security alleges that you:
 1. You are not a citizen or national of the United States;
 2. You are a native of TURKIYE and a citizen of TURKIYE;
 3. You were admitted to the United States at Boston, MA on or about June 28, 2024 as
 a nonimmigrant Student (F-1) ;
 4. On March 21, 2025, your nonimmigrant visa was revoked by the United States
 Department of State.




 On the basis of the foregoing, it is charged that you are subject to removal from the United States pursuant to the following
 provision(s) of law:
  Section 237 (a) (1) (B) of the Immigration and Nationality Act (Act) , as amended, in
  that after admission as a nonie ~igrant under Section 101(a) (15) of the Act, your
 nonimmigrant visa was revoked under section 221 (i) of the Act.




 Q This notice is being issued after an asylum officer has found that the respondent has demonstrated a credible fear of
      persecution or torture.
 l:l Section 235(b)(1) order was vacated pursuant.to:             [I] 8CFR 208.30        la 8CFR 235.3(b)(5)(iv)


 YOU ARE ORDERED to appear before an immigration judge of the United States Department of Justice at:

  3843 E STAGG AVE,       BASILE, LOUISIANA 70515. SOUTH LOUISIANA CORR CENTER
                                     (Complete Address of Immigration Court, including Room Number, if any)        7
                                                                                                                   I
 on      April 7, 2025        at       8:30 am         to show why you should not be removed froq'i the n N ? States based on the
             (Date)                     ('l7me)

 charge(s) set forth above.                                            D. 4448 JOHNSTON - SDDO
                                                                         (Signature and Title of Issuing   leer)

 Date:      March 25, 2025                                                        St Albans , VT
                                                                                    (City and State)




DHS Form 1-862 (6/22)                                                                                                          Page 1 of 4
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                                                                  Notice to Respondent
 Wamlng: Any statement you make may be used against you in removal proceedings.
 Alien Registration: This copy of the Notice to Appear served upon you is evidence of your alien registration while you are in removal proceedings.
 You are required to carry it with you at all times.
 Representation: If you so choose, you may be represented in this proceeding, at no expense to the Government, by an attorney or other individual
 authorized and qualified to represent persons before the Executive Oltice for Immigration Review. pursuant to 8 CFR 1003.16. Unless you so
 request, no hearing will be scheduled earlier than ten days from the dale of this notice, to allow you sufficient time to secure counsel. A list of
 qualified attorneys and organizations who may be available to represent you at no cost will be provided with this notice.
 Conduct of the hearing: At the time of your hearing, you should bring with you any affidavits or other documents that you desire lo have considered
 In connection with your case. If you wish to have the testimony of any witnesses considered, you should arrange to have such witnesses present at
 the hearing. At your hearing you will be given the opportunity to admit or deny any or all of the allegations in the Notice to Appear, including that you
 are inadmissible or removable. You will have an opportunity to present evidence on your own behalf, to examine any evidence presented by the
 Govemmenl, to object, on proper legal grounds, to the receipt of evidence and to cross examine any witnesses presented by the Government. At the
 conclusion of your hearing, you have a right to appeal an adverse decision by the immigration judge. You will be advised by the immigration judge
 before whom you appear of any relief from removal for which you may appear eligible including the privilege of voluntary departure. You will be given
 a reasonable opportunity to make any such application to the immigration judge.
 One-Year Asylum Application Deadline: If you believe you may be eligible for asylum, you must file a Form 1-589, Application for Asylum and for
 Vlhthholding of Removal. The Form I-5B9, Instructions, and information on where to file the Form can be found at www.uscis.gov/i-589. Failure to file
 the Form 1-589 within one year of arrival may bar you from eligibility to apply for asylum pursuant to section 20B(a)(2)(B) of the Immigration and
 Nationality Act.
 Failure to appear: You are required to provide the Department of Homeland Security (DHS), in writing, with your full mailing address and telephone
 number. You must notify the Immigration Court and the DHS immediately by using Form EOlR-33 whenever you change your address or telephone
 number during the course of this proceeding. You will be provided with a copy of this form. Notices of hearing will be mailed to this address. If you do
 not submit Form EOIR-33 and do not otherwise provide an address at which you may be reached during proceedings, then the Government shall not
 be required to provide you with written notice of your hearing. If you fail to attend the hearing at the time and place designated on this notice, or any
 date and time later directed by the Immigration Court, a removal order may be made by the immigration judge in your absence. and you may be
 arrested and detained by the DHS.
 Mandatory Duty to Surrender for Removal: If you become subject to a final order of removal, you must surrender for removal to your local DHS
 office, listed on the internet at lgtp;[m;vw.i . v contactlere. as directed by the DHS and required by statute and regulation. Immigration
 regulations at8 CFR 1241.1 define when the removal order becomes administratively final. If you are granted voluntary departure and fail to depart
 the United States as required, fail to post a bond in connection with voluntary departure, or fail to comply with any other condition or term in
 connection with voluntary departure. you must surrender for removal on the next business day thereafter. If you do not surrender for removal as
 required, you will be ineligible for all forms of discretionary relief for as long as you remain in the United States and for ten years after your departure
 or removal. This means you will be ineligible for asylum, cancellation of removal, voluntary departure, adjustment of status, change of nonimmigrant
 status, registry. and related waivers for this period. If you do not surrender for removal as required, you may also be criminally prosecuted under
 section 243 of the immigration and Nationality Act.
 U.S. Citizenship Claims: If you believe you are a United States citizen, please advise the DHS by calling the ICE Law Enforcement Support Center
 toll free at (855)448-6903 .
 Sensitive locations: To the extent that an enforcement action leading to a removal proceeding was taken against Respondent at a location
 described in B U.S.C. § 1229(e)(1), such action complied with 8 U.S.C. § 1367.




                                                             Request for Prompt Hearing
 To expedite a determination in my case, I request this Notice to Appear be filed with the Executive Office for Immigration Review as soon as
 possible. I waive my right to a 10-day period prior to appearing before an immigration judge and request my hearing be scheduled.

 Before:
                                                                                                                  (Signature of Respondent)

                                                                                                                            Date:
                          (Signature and 77tle of Immigration Officer)

                                                                  Certificate of Service

  This Notice To Appear was served on the respondent by me on March 25 . 2025                      in the following manner and in compliance with section
  239(a)(1) of the Act.

   IX] in person      D by certified mail, returned receipt # .                   requested      C] by regular mail
  E] Attached is a credible fear worksheet.
  [I    Attached is a list of organization and attorneys which provide free legal services.

  The alien was provided oral notice in the ENGLISH                                    language of the time and place of his or her hearing and of the
  consequences of failure lo appear as provided in section 240(b)(7) of the Act.
                                                                                                           M 11272 MUSCARELLA - Deportation
    _                                                                                                                        Qfficaz
             (Signature of Respondent if Personally Sewed) ,                                          (Signature and Title of officer)



DHS Form 1-862 (6/22)                                                                                                                        Page 2 of 4
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                                                                  Privacy Act Statement

Authority:
The Department of Homeland Security through U.S. Immigration and Customs Enforcement (ICE), U.S Customs and Border Protection (CBP), and u.s.
Citizenship and Immigration Services (USCIS) are authorized to collect the information requested on this form pursuant to Sections 103, 237. 239, 240,
and 290 of the immigration and Nationality Act (INA), as amended (a U.S.C. 1103, 1229, 1229a, and 1360), and the regulations issued pursuant thereto.

Purpose'
You are being asked to sign and dale this Notice to Appear (NTA) as an acknowledgement of personal receipt of this notice. Thls notice, when Gled with
the U.S. Department of Justice's (DOJ) Executive Office for Immigration Review (EOIR), initiates removal proceedings. The NTA contains information
regarding the nature of the proceedings against you, the legal authority under which proceedings are conducted, the acts or conduct alleged against you
to be In violation of law, the charges against you, and the statutory provisions alleged to have been violated. The NTA also includes information about
the conduct of the removal hearing, your right to representation at no expense to the government, the requirement to inform EOIR of any change in
address, the consequences for failing to appear, and that generally, if you wish to apply for asylum, you must do so within one year of your arrival in the
Unlted States. If you choose to sign and date the NTA, that information will be used to confirm that you received it, and for recordkeeping.

Routine Uses:
For United States Citizens. Lawful Permanent Residents. or individuals whose records are covered by the Judicial Redress Ad of 2015 (s U.S.C. §552a
note), your information may be disclosed in accordance with the Privacy Act of 1974, 5 U.S.C. §552a(b), including pursuant to the routine uses
published in the following DHS systems of records notices (SORN): DHS/USCISIICE/CBP-001 Alien File. Index, and National File Tracking System of
Records, DHS/USCIS~007 Benefit information System, DHSIICE-011 Criminal Arrest Records and Immigration Enforcement Records (CARIER), and
DHS/ICE-003 General Counsel Electronic Management System (GEMS), and DHS/CBP-023 Border Patrol Enforcement Records (BPER). These
SORNs an be viewed at httpsJ/www.dhs.govlsystem-records-notices-soms. When disclosed to the DOJ's EOIR for immigration proceedings, this
information that is maintained and used by DOJ is covered by the following DOJ SORN: EOIR-001, Records and Management Information System, or
any updated or successor SORN, which can be viewed at llttesMaine./»1.iusticegwtoad/N9i:systems-_records. Further. your information may be disclosed
pursuant to routine uses described in the abovementioned DHS SORNs or DOJ EOIR SORN to federal, state, local, tribal, territorial, and foreign law
enforcement agencies for enforcement, investigatory, litigation, or other similar purposes.

For all others, as appropriate under United States law and DHS policy, the information you provide may be shared internally within DHS, as well as with
federal, state, local, tribal, territorial, and foreign law enforcement, other government agencies, and other parties for enforcement. investigatory, litigation,
or other similar purposes.

Disclosure:
Providing your signature and the date of your signature is voluntary. There are no effects on you for not providing your signature and date; however,
removal proceedings may continue notwithstanding the failure or refusal to provide this information.




DHS FOI'M 1-862 (6/22)                                                                                                                        Page 3 of 4
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    U.S. Department of Homeland Security                                                  Continuation Page for Form 1-862
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                                                                in
    Alien's Name                                                 File Number                          Datc
OZTURK I RUMEYSA                                                                                         03/25/2025
                                                                   ven       o       02503000017
CURRENTLY RESIDING AT:


South Louisiana Iron Center 3 8 4 3 w Stagg Ave Basile, LOUISIANA 70515




    Signature
    D. 4448 JOHNSTON                     l                                                   Titlc
                                                                                            SDDO


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                                                                                                                                of         Pages

    Form 1-831 Continuation Page (Rev. 08/0l/07)
Case: 25-1019, 04/24/2025, DktEntry: 19.1, Page 63 of 123




                   Exhibit B
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 RUMEYSA OZTURK,

                             Petitioner,

                V.                                   Civil Action No. 1:25-cv-10695-DJC

 DONALD J. TRUMP, in his official capacity as                   Leave to file excess pages
 President of the United States, PATRICIA                         granted on 4/1/2025
 HYDE, Field Office Director,
 MICHAEL KROL, HSI New England Special
 Agent in Charge, TODD LYONS, Acting
 Director, U.S. Immigration and Customs
 Enforcement, and KRISTI NOEM, Secretary of
 Homeland Security, and MARCO RUBIO, in his
 official capacity as Secretary of State

                             Respondents .


             RESPONDENTS' OPPOSITION TO PETITIONER'S
      AMENDED PETITION FOR WRIT OF HABEAS CORPUS PURSUANT TO
                           28 U.S.C § 2241

       Respondents, by and through their attorney, Leah B. Foley, United States Attorney for the

District of Massachusetts, respectfully submit this opposition to Petitioner Rumeysa Ozturk's

Amended Petition for Writ of Habeas Corpus (the "Petition"). Doc No. 12.

                                       INTRODUCTION

       Under binding precedent from the Supreme Court and the U.S. Court of Appeals fer the

First Circuit, this Court lacks habeas jurisdiction over this Petition because Petitioner was not in

the District of Massachusetts when she filed her original petition seeking release from U.S.

Immigration and Customs Enforcement ("ICE") custody. See Declaration of Acting Deputy Field

Office Director David T. Westing, qlql 12-13, attached as Exhibit A ("Wesling Decl.). Instead, at

the time of filing, Petitioner was in Vermont, after she had been transferred from Massachusetts
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immediately after her arrest on March 25, 2025. Id. , qlql 6-8. Petitioner also was not in this District

when she filed her Amended Complaint on March 28 as she had been transferred to Louisiana two

days prior. Id., qlql 18-19. As this Court is not in Petitioner's district of confinement, it lacks

jurisdiction to entertain this action.

        In Rumsfeld v. Padilla, 542 U.S. 426, 434-35 (2004), the Supreme Court made clear an

individual challenging her detention through a habeas petition must file that petition in the district

where she is detained and must name the custodian detaining her in such district as the respondent.

The First Circuit, in Vasquez v. Reno similarly held that "an alien who seeks a writ of habeas

corpus contesting the legality of his detention by [ICE] normally must name as the respondent his

immediate custodian, that is, the individual having day-to-day control over the facility in which he

is being detained." 233 F.3d 688, 690 (1st Cir. 2000). Because Petitioner did net do that, and still

has not done that with the filing of her Amended Petition, this Court lacks habeas jurisdiction over

this action. See, e.g., Them v. Adducci, 319 F. Supp. 3d 574, 577 (D. Mass. 2018) (Holding that

"jurisdiction lies in only one district: the district of confinement."), Rombot v. Moniz, 299 F. Supp.

3d 215, 218 (D. Mass. 2017) ("A district court may only grant a petitioner relief when the court is

located in the 'district of confinement."') (quoting Padilla, 542 U.S. at 443), Hernandez v. Lyons,

1:19-cv-10519-DJC, ECF No. 18 (D. Mass. Oct. 11. 2019) (Allowing motion to dismiss as habeas

petitioner "was not in the district when he filed or was pursuing this Petition as is required.").

        Additionally, even if Petitioner had properly filed her original petition when she was

detained in Massachusetts, this Court would nonetheless lack jurisdiction over this matter under

the Immigration and Nationality Act ("INA"). The federal immigration laws strip district courts

of jurisdiction over the sorts of governmental decisions challenged in the Petition, including the

revocation of Petitioner's student visa and ICE's decision to initiate removal proceedings. The



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Department of State revoked Petitioner's visa on March 21, 2025 pursuant to INA Section 221(i),

8 U.S.C. § 1201(i), which allows revocation of a visa at the Secretary of State's discretion. See

Doc. No. 12-2, Form 1-862, Notice to Appear ("NTA"). Per Section 1201(i), Congress barred

judicial review of a visa revocation, specifically stating that "[t]here shall be no means of judicial

review      of a revocation under this subsection," including through a habeas petition, other than

in the context of removal proceedings and only if the visa revocation is the sole basis for removal.

(emphasis added).

         Petitioner's request for review of ICE's decision to initiate removal proceedings against

her is barred by 8 U.S.C. § 1252(g) which strips district courts of jurisdiction "to hear any cause

or claim by or on behalf of an alien arising from the decision or action by [ICE] to commence

proceedings      against any alien," including constitutional claims. Courts also lack jurisdiction to

review ICE's discretionary decisions to arrest and detain aliens under 8 U.S.C. § 1226(a). Per 8

U.S.C. § l226(e), ICE's "discretionary judgment regarding the application of [Section 1226] shall

not be subject to review [and]      [n]o court may set aside any action or decision by [ICE] under

this section regarding the detention of any alien ...". And finally, 8 U.S.C. §§ l252(a)(5) and

(b)(9) strip "federal courts of jurisdiction to decide legal and factual questions arising from an

alien's removal" and instead channel such questions to the courts of appeal via a petition for

review. Gicharu v. Carr, 983 F.3d 13, 16 (1st Cir. 2020).

         Petitioner is not without recourse to challenge the revocation of her visa and her arrest and

detention, but such challenge cannot be made before this Court. Instead, Petitioner must seek

release before an immigration judge and must pursue relief from removal in Immigration Court,

before the Board of Immigration Appeals ("BIA"), and eventually before a circuit court if

necessary. But one way or another, this Court lacks jurisdiction over this matter. And as this



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Court lacks jurisdiction over this Petition, Petitioner's request for release on bail pending

adjudication of the matter is similarly unwarranted.

                      FACTUAL AND PROCEDURAL BACKGROUND

       A. Petitioner's Arrest and Transfer from the District of Massachusetts.

       Petitioner is a native and citizen of Turkey. Doc. NO. 12, ii 8. Petitioner entered the

United States pursuant to a student visa. Id., 918. Pursuant to 8 U.S.C. § 1226(a), ICE arrested

Petitioner at approximately 5:25 PM on March 25, 2025, after her visa had been revoked by the

Department of State under 8 U.SC. § 1201(i). Westing Decl., q15, Doc. No 12-2, NTA. With the

revocation of her visa, Petitioner was subject to removal from the United States pursuant to 8

U.S.C. § 1227(a)(1)(B) as an alien "whose nonimmigrant visa          has been revoked under section

1201(i)." Doc. No. 12-2.

       Prior to the arrest, ICE determined that there was no available bedspace for Petitioner at a

facility within the New England region where she could be detained and still appear for a hearing

in Immigration Court. Id. , ii 6. ICE therefore decided that Petitioner would be transferred to the

South Louisiana Correctional Facility in Basile, Louisiana after her arrest and made necessary

transfer and flight arrangements to facilitate custody at that facility. Id., 91916, 8. Transfers out

of state, and out of the ERO Boston area of responsibility, are routinely conducted after arrest,

due to operational necessity. Id., ii 7. In accordance with this operational plan, at 5:49 PM on

March 25, ICE officials departed Somerville, Massachusetts, and transported Petitioner to

Methuen, Massachusetts arriving at 6:22 PM. Id., ii 10. At 6:36 PM, ICE officials departed from

Methuen, Massachusetts and transported Petitioner to Lebanon, New Hampshire.1 Id., 91 11. At



         1 Methuen, Massachusetts is approximately 2 miles from the New Hampshire border on
Interstate 1-93 .

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9:03 PM, ICE officials departed Lebanon, New Hampshire to transport Petitioner to the ICE field

office in St. Albans, Vermont.2 Id., ii 12. At 10:28 PM, Petitioner arrived at the ICE field office

in St. Albans, Vermont. Id., 91 13. While at the facility in St. Albans, ICE issued Petitioner with

a NTA in the Oakdale, Louisiana Immigration Court on April 7, 2025 and charged Petitioner as

removable from the United States per 8 U.S.C. § 1227(a)(1)(B). Id., 91 14, Dec. No. 12-2, NTA.

        Petitioner spent the night at the ICE field office in St. Albans, Vermont on March 25.

Westing Decl., 91 13. On March 26 at 4:00 AM, ICE officials departed the ICE Field Office in St.

Albans and transported Petitioner to the airport in Burlington, Vermont. Id., ii 16. At 5:31 AM,

Petitioner departed the airport in Burlington. Id., ii 17. At 2:35 PM, Petitioner arrived in

Alexandria, Louisiana and was transported to the South Louisiana Correctional Facility in Basile,

Louisiana. Id., qlql 18-19. At the time of Petitioner's arrest, ICE was not aware of a counsel of

record for Petitioner. Id., ii 20. Once ICE obtained Petitioner's counsel's contact information, it

was provided to ERO New Orleans to facilitate Petitioner's communication with counsel. Id.

Upon her arrival to the South Louisiana Correctional Facility, Petitioner spoke with counsel. Id.

9121.

        B. Petitioner's Original Habeas Petition and her Amended Petition.

        Petitioner filed her original petition with this Court on March 25, 2025 at 10:01 PM. Doc.

No. 1. Petitioner named as Respondents Patricia Hyde, the Acting Director of ICE's ERO Boston

Field Office, Michael Krol, ICE's Boston Homeland Security Investigation's Special Agent in

Charge, Todd Lyons, the Acting Director of ICE, and Kristi Noem, the Secretary of Homeland

Security. Id. Petitioner alleged that she was "currently in custody in the District of Massachusetts"



        2 Lebanon, New Hampshire is approximately 5 miles from the Vermont border on
Interstate 1-89.

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and that "one or more of the Respondents is her immediate custodian." Id., 91 12. But as just

detailed, Petitioner was in fact in Vermont, set to be transferred to Louisiana-a decision, again,

that was made by ICE officials before any petition was filed. Westing Decl., qlql 6-8, 10-13.

       On March 28, Petitioner filed an Amended Petition. Doc. No. 12. Petitioner added

President Donald J. Trump and Secretary of State Marco Rubio as Respondents. Id. Petitioner

asserts venue is proper in this Court under the theory that she "had been detained in the District

of Massachusetts by [ICE] and under the custody and control of ICE officials in Massachusetts at

the time of the filing of this petition." Id., ii 7. Petitioner added claims under the First

Amendment and the Administrative Procedures Act ("APA"), amended her claim under the Fifth

Amendment's Due Process Clause, and sought release on bail. Id. Petitioner asked the Court

order that she be returned to Massachusetts, that she be released, and that the Court find that her

arrest violated the First and Fifth Amendments. Id. at PRAYER FOR RELIEF.

                                            ARGUMENT

       Petitioner improperly filed her original petition with this Court because Petitioner was not

detained in Massachusetts when she filed her action at 10:02 PM on March 25. She also named

improper supervisory officials as respondents. Petitioner's Amended Petition is similarly

improperly filed in this Court because Petitioner is in custody in Louisiana and this Court lacks

jurisdiction over her immediate custodian who has not been named as a respondent. Even if the

original petition had been properly filed, dismissal would still be required because this Court

lacks jurisdiction to review Petitioner's challenges to the Government's action and to order the

requested relief. As such, this Court should dismiss this action without prejudice. If, however,

the Court determines transfer of the Petition is appropriate, such transfer must be to the Western

District of Louisiana where Petitioner is currently detained.



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         A. The Immediate Custodian and District of Confinement Rules Apply to this
            Petition and Render this Court without Jurisdiction.

         Petitioner's original petition was improperly filed as Petitioner was not detained in

Massachusetts when she filed her action at 10:02 PM on March 25 and because she did net name

her immediate custodian as a respondent. Petitioner departed Massachusetts shortly after 6:30

PM when ICE officials transported her from Methuen, Massachusetts on the way to Lebanon,

New Hampshire before eventually arriving in St. Albans, Vermont later that evening. Wesling

Decl., 9191 11-13. Because Petitioner was in Vermont when her original petition was filed, she

should have filed her action with the U.S. District Court for the District of Vermont, not this

Court.

         The Supreme Court explained that when considering "challenges to present physical

confinement       the immediate custodian, not a supervisory official who exercises legal control,

is the proper respondent." Padilla, 542 U.S. at 439. Padilla involved a habeas petition filed by a

U.S. citizen who was initially detained in the Southern District of New York but then transferred

to South Carolina. Id. at 431. After Mr. Padilla was transferred, he filed a petition in SDNY,

naming President Bush and Secretary Rumsfeld as respondents. Id. at 432. The Court

confronted the "question whether the Southern District has jurisdiction over Padilla's habeas

petition" which required two determinations: "First, who is the proper respondent to the petition?

And second, does the Southern District have jurisdiction over him or her?" Id. at 434.

         Answering the first question, the Supreme Court explained that the habeas statute

"provides that the proper respondent to a habeas petition is 'the person who has custody over [the

petitioner]."' Id. (quoting 22 U.S.C. § 2242). The Court stated that "there is generally only one

proper respondent to a given prisoner's habeas petition," the immediate custodian who has "the

ability to produce the prisoner's body before the habeas court." Id. The Court applied its

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"longstanding" rules - known as the "district of confinement" and "immediate custodian" rules

and explained that in a challenge to present physical confinement, "the proper respondent is the

warden of the facility where the prisoner is held, not the Attorney General or some other remote

supervisory official." Id. at 435. The Court acknowledged that while Mr. Padilla's detention

was "undeniably unique in many respects, it is at bottom a simple challenge to physical custody

imposed by the Executive...." Id. at 441. Without evidence that "there was any attempt to

manipulate" his transfer or that government was hiding his location, the Court explained that his

"detention is thus not unique in any way that would provide arguable basis for a departure from

the immediate custodian rule." Id. at 441-42.

       As to the question of the proper district court to consider the petition, the Court affirmed

the applicability of the traditional rule "that for core habeas petitions challenging present

physical confinement, jurisdiction lies in only one district: the district of confinement." Id. at

443. Because Mr. Padilla was moved from the Southern District of New York before the petition

was filed, "the Southern District never acquired jurisdiction over Padilla's petition.". Id. at 441-

42.3 In summary, the Padilla Court explained that whenever a "habeas petitioner seeks to

challenge his present physical custody within the United States, he should name his warden as

respondent and file the petition in the district of confinement." Id. at 447.




         3 As such, the Padilla Court distinguished the factual circumstances before the Court
from those at issue in Ex parte Endo, 323 U.S. 283 (1944) where the Supreme Court had created
an exception to its general rule for cases in which the petitioner properly filed the habeas petition
against the immediate custodian and thereafter was transferred outside the district court's
territorial jurisdiction. Here, as in Padilla, Endo is not applicable because Petitioner never
properly filed her habeas petition because she was not detained in Massachusetts when it was
filed.

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       Four years prior to the Padilla decision, the First Circuit in Vasquez v. Reno held that a

habeas petitioner challenging his immigration detention must file his petition in the district of

confinement and must name his immediate custodian in that district as the respondent. Vasquez,

233 F.3d at 696. The First Circuit rejected the argument that a supervisory official such as the

Attorney General was the proper respondent, holding that "as a general rule, the Attorney

General is neither the custodian of such an alien in the requisite sense nor the proper respondent

to a habeas petition." 4 Id. at 689.

       In Vasquez, an alien was detained in Massachusetts before transfer to Louisiana. Id. at

690. The petitioner filed in the District of Massachusetts, naming as respondents the Attorney

General, the Commissioner of the Immigration and Nationality Service ("INS"), and the district

director of the INS's Boston office. Id. He did not name, however, the INS official who

maintained his custody in Louisiana. Id. The First Circuit held that the district court erred in

exercising jurisdiction because the petitioner was net detained in Massachusetts when he filed

and due "to the petitioner's failure to name his true custodian (the INS district director for

Louisiana) as the respondent to his petition." Id. The Court distinguished the Supreme Court's

decision in Endo, explaining that such petition was "properly-filed," unlike Mr. Vasquez's

petition which was filed "in a jurisdiction where neither he nor his immediate custodian was

physically present." Id. at 695.

       The First Circuit explained that "Congress has stipulated that a writ of habeas corpus

granted by a district court 'shall be directed to the person having custody of the person

detained." Id. (quoting 28 U.S.C. § 2243). Per the Court, "[t]his means, of course, that the



      4 At the time of the Vasquez decision, immigration detainees were held by the
Immigration and Naturalization Service which was part of the U.S. Department of Justice.

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court issuing the writ must have personal jurisdiction over the person who holds the petitioner in

custody." Id. at 690. As it specifically concerned aliens in immigration detention, the Court

found that, as in in the prison context, the proper respondent is not a supervisory official such as

the Attorney General or the head of an agency, but the immediate custodian of the alien, i.e. the

individual "who holds the petitioner in custody." Id. at 691. As such, the First Circuit held that

"an alien who seeks a writ of habeas corpus contesting the legality of his detention by [ICE]

normally must name as the respondent his immediate custodian, that is, the individual having

day-t0-day control over the facility in which he is being detained." Id. Otherwise, "allowing

alien habeas petitioners to name the Attorney General       will encourage rampant forum

shopping." Id. at 694.

       Courts within this District routinely find jurisdiction wanting over habeas petitions that

are filed by ICE detainees outside of Massachusetts. See Kan tengwa v. Brackett, No. 19-CV-

12566-NMG, 2020 WL 93955, at *1 (D. Mass. Jan. 7, 2020) ("Because the District of

Massachusetts is not the district of [petitioner's] confinement, jurisdiction is lacking."), Them,

319 F. Supp. 3d at 577 ("jurisdiction lies in only one district: the district of confinement."),

Rombot v. Muniz, 299 F. Supp. 3d at 218 ("A district court may only grant a petitioner relief

when the court is located in the 'district of confinement."') (quoting Padilla, 542 U.S. at 443).

       Because Petitioner was not detained in Massachusetts when she filed her original petition

and because she failed to name her immediate custodian, this Court lacks jurisdiction over this

matter. Petitioner's Amended Petition is similarly improperly filed in this Court, because it fails

to name her immediate custodian in Louisiana, and it is not filed in her district of confinement.

Given this Court lacks habeas jurisdiction under the above rules, the proper course is for this

Court to dismiss the action.



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               1. Petitioner failed to name her immediate custodian.

       Petitioner named improper respondents in her original petition because she named

supervisory officials, rather than her immediate custodian in Vermont when the petition was

filed. Her Amended Petition suffers from the same flaws as she adds additional supervisory

officials but fails to name her immediate custodian in Louisiana.

       Courts within this district routinely hold that they lack jurisdiction over a habeas petition

if the alien names improper respondents such as supervisory officials like the ICE Boston Field

Office Director ("FOD"), even if this individual provides oversite threugheut the New England

region. For example, in Day Tho Hy v. Giller, 588 F. Supp. 2d 122, 124-25 (D. Mass. 2008), the

Court held that the ICE FOD was not a proper party, explaining that "[b]ecause the petitioner's

immediate custodian is the only proper respondent, a supervisory officer of any kind,       is not a

proper party." Id. at 125 (emphasis in original). More recently, the Court rejected an argument,

similarly made by Petitioner, that ICE Boston's FOD had "total control" over the petitioner and

therefore was a proper respondent, finding such claim "unavailing" in Them, 319 F. Supp. 3d at

576-577.

       Other sessions of this Court similarly routinely hold that supervisory officials are not

proper respondents to a habeas action. See e.g., McPherson v. Holder, No. 14-CV-30207-MGM,

2015 WL 12861171, at *2 (D. Mass. Mar. 4, 2015) (Explaining that "regardless of where

petitioner was detained at the time of filing, under First Circuit jurisprudence, Attorney General

Eric Holder does not have day-to-day control over the facility where the petitioner is held. Thus,

petitioner has not named the proper respondent, and on this basis alone, the petition may be

dismissed without prejudice to its refiling with the correct respondent."), Pen v. Sessions, No.

CV 17-10626-NMG, 2017 WL 2312822, at *1-2 (D. Mass. May 25, 2017) (Holding that "the



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proper respondent is the warden of the institution where Pen was confined when the petition was

filed.    The other persons identified as respondents are not proper parties to this action.").

         As Petitioner is new detained in Louisiana, her failure to name her immediate custodian

subjects her Amended Petition to dismissal. See Them, 319 F. Supp. 3d at 577 (Explaining that

for an ICE habeas petitioner detained in New Hampshire, the correct respondent is the

Superintendent of that facility), Faulkner v. US. Immigr. & Naturalization, No. CV 22-12122-

WGY, 2023 WL 3868437, at *2 (D. Mass. June 7, 2023) (Holding that "the proper respondent is

the warden of the institution where Faulkner was confined when the petition was filed. Because

Faulkner is [in Maryland], the proper respondent is the warden at this Maryland facility."),

Kantengwa, 2020 WL 93955 at *1 ("Because Kantengwa was at the Strafford County Detention

Center at the time she filed her petition (and remains there still), the proper respondent is Warden

Brackett. The other persons identified as respondents are net proper parties to this action.").

                2. Petitioner failed to file in the district of confinement.

         Because Petitioner was not detained in Massachusetts when she filed her original petition

or her Amended Petition, this Court lacks jurisdiction over this action. For a district court to

have jurisdiction over a habeas petition, the individual holding custody must be "within [the

court's] respective jurisdiction[]." Padilla, 542 U.S. at 442 (quoting 28 U.S.C. § 2241(a)),

Vasquez, 233 F.3d at 690 (Explaining "that the court issuing the writ must have personal

jurisdiction over the person who holds the petitioner in custody."). As the Supreme Court has

made clear, that means the district of confinement. Padilla, 542 U.S. at 443.

         Courts within this district routinely find that they do not have habeas jurisdiction when a

petition is filed by a detainee outside Massachusetts. See Rombot, 299 F. Supp. 3d at 218 ("A

district court may only grant a petitioner relief when the court is located in the 'district of



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confinement."') (quoting Padilla, 542 U.S. at 443), Them, 319 F. Supp. 3d at 577 ("jurisdiction

lies in only one district: the district of confinement."), Kantengwa, 2020 WL 93955, at *2

("Because the District of Massachusetts is not the district of Kantengwa's confinement,

jurisdiction is lacking."), Aitcheson v. Holder, No. CV 15-11123-nMG, 2015 WL 10434871, at

*2 (D. Mass. Dec. 31, 2015) (Finding no jurisdiction over a habeas petition filed by a petitioner

when in the District, but who was moved to Alabama shortly after such filing because "1)

[Massachusetts] is no longer petitioner's district of confinement and 2) only a respondent at the

Detention Center in Alabama could bring the petitioner before a habeas court.") .

        Because Petitioner was transferred from Massachusetts before she filed the original

petition, this Court never acquired jurisdiction and therefore "out not to      act[] on the merits" of

her Amended Petition. Vasquez, 233 F.3d at 697.

                3. No exceptional circumstances allow deviation from the district of
                   confinement and immediate custodian rules.

        The First Circuit did acknowledge that there could be "extraordinary circumstances" in

which an official with supervisory control could be named as the respondent for an ICE

detainee's habeas petition. Vasquez, 233 F.3d at 697. The First Circuit, however, found no "hint

of anything that might qualify as an extraordinary circumstance" in that Mr. Vasquez was

required to file his petition in the district of his confinement (Louisiana), even if that jurisdiction

was considered a less hospitable judicial district for the detainee to present his claims. Id.

        Here too, there are ne extraordinary circumstances that make appropriate the naming of

supervisory officials as respondents to this action or that ground jurisdiction with this Court.

Petitioner's transfer out of Massachusetts was not done to manipulate jurisdiction or to detain her

in an undisclosed location, rather it was done out of operational necessity. Wesling Decl., 91916-

8. After ICE arrested Petitioner at approximately 5:25 PM on March 25, ICE transferred

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Petitioner out of Massachusetts to the ICE Field Office in St. Albans, Vermont because ICE does

not maintain detention facilities in Massachusetts for females. Id., 91916, 10-13. ICE routinely

transfers individuals arrested in one state to facilities in other states because of operational

considerations such as bedspace and designation of risk categories. Id., 7.5

       ICE's transfer of Petitioner to Vermont and then to Louisiana does not suggest

"furtiveness" or "bad faith" as the First Circuit was concerned with in Vasquez. Other courts

have confronted comparable circumstances in which a petition was filed outside the district of

confinement during transit between locations and have rejected arguments seeking exception to

the immediate custodian and district of confinement rules. For example, in Ruvira-Garcia v.

Guadian, the court explained that there were "two big problems" with petitioner's request that

the court order her return to Illinois: "Petitioner filed against the wrong people, in the wrong

place." No. 1:20-CV-2179, 2020 WL 1983875, at *1 (N.D. 111. Apr. 17, 2020). The petitioner in

that case was not in Illinois when she filed her petition, "she apparently was en route between

Texas and Oklahoma" and therefore the court found that this "isn't a case where the petitioner

was here at the moment of filing, and then left. She hasn't been in [Illinois] at any point since

this case started." Id., at *3. Even if it was "unclear whether the authorities in Texas, or the

authorities in Oklahoma, had custody over her at the moment of filing," "if the choice is between

Texas and Oklahoma, Illinois is the wrong answer." Id. The court found it lacked jurisdiction




        5 See Russian scientist working at Harvard detained by ICE at Boston airport,
https://www.theguardian.com/us-news/2025/mar/27/russian-scientist-harvard-medical-school-
ice-detention (Explaining that a female applicant for admission had her visa revoked on February
16, 2025 by U.S. Customs and Border Protection and then was transferred by ICE to a facility in
Vermont prior to transfer to a facility in Louisiana) .



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but explained that "the continued detention of [p]etitioner by the Executive Branch is not

immune from challenge       [p]etitioner simply can't challenge her detention [in Illinois], as

Congress made clear." Id.

       In another case, while recognizing that transfers of an ICE detainee between states

presented "unusual logistical circumstances," the court explained that "it is not this Court's duty

to ascertain or identify an Arizona official who would be correctly named as a respondent in this

case" and concluded that "there is no recognized exception to the immediate custodian rule for

inconvenience or exigent circumstances." Fuentes v. Choate, NO. 24-CV-01377-NYW, 2024

WL 2978285, at *9-10 (D. Colo. June 13, 2024). Similarly, in Khalil v. Joyce, --- F.Supp.3d ---     7




2025 WL 849803, (S.D.N.Y. Mar. 19, 2025), a case that also involved an ICE arrest in New

York, a transfer to a facility in New Jersey, and then an eventual transfer to Louisiana, the

Southern District found it lacked jurisdiction because even though petitioner was arrested in New

York, he was in New Jersey when he filed his petition. Id., at *2.

       These cases demonstrate that even with an arrest in one district followed by a transfer to

another district, a habeas petitioner must file her petition in the district of confinement and must

name her immediate custodian as respondent. Simply because a detainee is transferred to

another district pest-arrest does not suggest bad faith underlying the transfer. See Khalil, 2025

WL 849803, at *10 (The "swift nature of Khalil's transfer does not help his argument         [as]

rapid transfers from one immigration detention facility to another also appear to be common").

The traditional immediate custodian and district of confinement rules apply in this case and as

such, the Petition must be dismissed.




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       B. Even if the Original Petition was Properly Filed, this Court Lacks Jurisdiction to
          Review the Challenged Executive Actions.

       Even if properly filed, this action must still be dismissed as the Court lacks jurisdiction

over Petitioner's challenges to the revocation of her visa and her subsequent arrest, detention,

and initiation of removal proceedings.

       1. District courts lack jurisdiction to review the Department of State's revocation
          of visas.

       Petitioner asserts that the revocation of her student visa was unlawful and therefore her

arrest and detention are illegal. Doc. No. 12, 91914-5. Her challenge to the revocation of her visa

cannot be heard by this Court, however, as 8 U.S.C. § 1201(i) specifically states that there

"shall be no means of judicial review" including habeas review, "except in the context of

removal proceedings if such revocation provides the sole ground for removal". Here, ICE

issued Petitioner with a NTA initiating removal proceedings on account of her revoked visa and

she can seek judicial review before an Immigration Court, the BIA, and eventually to a court of

appeals if she is ordered removed.

       As explained by another district court when dismissing a petition which challenged a

visa revocation on account of a political dispute: "Congress has taken it out of my hands.         I

cannot address this argument because I lack subject matter jurisdiction over the case. The

legality of petitioner's detention depends on the resolution of such issues as whether the

government lawfully revoked his visa and whether he is removable from the United States and,

as indicated above, I am precluded from reviewing those issues." Violante v. Achier, 457 F.

Supp. 2d 898, 902 (ED. Wis. 2006). The court also found the Suspension Clause not

implicated because "the government has initiated removal proceedings" and a circuit court

could review a challenge to the visa revocation upon a petition for review. Id. at 902-03, n.6, 8



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U.S.C. § l252(a)(2)(D) (Explaining that judicial review remains available for "constitutional

claims or questions of law raised upon a petition for review).

       Other courts also routinely find themselves without jurisdiction to consider the merits of

a visa revocation upon operation of Section 1201(i)'s language. See e.g., Aldabbagh v. Sec'y of

State, NO. 6:21-CV-532-GAP-EJK, 2021 WL 6298664, at *2 (M.D. Fla. Oct. 5, 2021) (Finding

no jurisdiction over complaint that asked court to declare revocation of visa to be arbitrary and

capricious, an abuse of discretion, and net in accordance of law.), Ta rlinsky v. Pompeo, NO.

3:19-CV-659 (VLB), 2019 WL 2231908, at *5 (D. Conn. May 23, 2019) ("As the basis for [the

visa] revocation is expressly non-reviewable by statute, the [c]ourt lacks subject matter

jurisdiction over" the complaint). To the extent Petitioner seeks review of the State

Department's revocation of her visa, this Court lacks jurisdiction to consider her claims.

       2.    District courts lack jurisdiction over ICE's decisions to commence removal
             proceedings and to detain aliens for such proceedings.

       Petitioner's claim that ICE's decision to initiate removal proceedings and arrest and

detain her violated her constitutional rights is not subj ect to this Court's review under the INA.

                a. 8 U.S.C. § I252(g) bars jadicia l review offICE's decision to commence
                   removal proceedings against Petitioner.

       Congress, through the REAL ID Act, made clear that district courts do not have

jurisdiction to consider challenges to ICE's discretionary decisions concerning the

commencement of removal proceedings. Specifically, 8 U.S.C. § l252(g) strips courts of

jurisdiction to hear "any cause or claim by or on behalf of an alien arising from the decision or

action by [ICE] to commence proceedings        against any alien under this chapter." (emphasis

added). Section l252(g) is "directed against a particular evil: attempts to impose judicial

constraints upon [certain categories of] prosecutorial discretion." Reno v. Am. -Arab Anti-



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Discrimination Comm., 525 U.S. 471, 485 n.9 (1999). Section l252(g) plainly applies to

decisions and actions to commence proceedings that ultimately may end in the execution of a

final removal order. See Jimenez-Angeles v. Ashcroft, 291 F.3d 594, 599 (9th Cir. 2002) ("We

construe § l252(g) ... to include not only a decision in an individual case whether to commence,

but also when to commence, a proceeding."), Obado v. Superior Ct. of New Jersey Middlesex

Cnty., No. CV 21-10420 (FLW), 2022 WL 283133, at *3 (D.N.J. Jan. 31, 2022) ("Because

[p]etitioner challenges the decision to commence and adjudicate removal proceedings against

him, the [c]ourt lacks jurisdiction to direct [respondents] to terminate [p]etitioner's NTA and/or

halt his removal proceedings.").

       In addition to barring challenges to whether and when to commence proceedings, §

1252(g) bars district courts from hearing challenges to the method by which ICE chooses to

commence removal proceedings. See Alvarez v. U.S. Immigr. & Customs Enf't, 818 F.3d 1194,

1203 (nth Cir. 2016) ("By its plain terms, [§ 1252(g)] bars us from questioning ICE's

discretionary decisions to commence removal" and also to review "ICE's decision to take him

into custody and to detain him during removal proceedings"), Saadulloev v. Garland, No. 3:23-

CV-00106, 2024 WL 1076106, at *3 (W.D. Pa. Mar. 12, 2024) ("The Government's decision to

arrest [petitioner], clearly is a decision to 'commence proceedings' that squarely falls within the

jurisdictional bar of § 1252(g).").

       As Section 1252(g) prohibits judicial review of "any cause or claim" that arises from the

commencement of removal proceedings, this provision applies to constitutional as well as

statutory claims. Candra v. Cronen, 361 F. Supp. 3d 148, 156 (D. Mass. 2019) (Explaining that

a petitioner's "attempt to frame his claim in due process language does not change [the] result"

that Section 1252(g) strips jurisdiction), Anderson, v. Muniz, NO. CV 21-11584-FDS, 2022 WL



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375231, at *4 (D. Mass. Feb. 7, 2022) ("Section 1252(g) can serve as a jurisdictional bar even

when a petitioner contends that his due-process rights were violated.").

       That Petitioner is alleging her removal proceedings were initiated in retaliation for her

exercise of the First Amendment does not remove her claim from Section 1252(g)'s reach. See

Reno, 525 U.S. at 487-92 (holding that Section 1252(g) deprived district court of jurisdiction

over claim that certain aliens were targeted for deportation in violation of the First Amendment),

Zundel v. Gonzales, 230 F. App'x 468, 475 (6th Cir. 2007) (Explaining that First Amendment

challenge related to immigration enforcement action "is properly characterized as a challenge to

a discretionary decision to 'commence proceedings'      [and] is insulated from judicial review".),

Humphries v. Various Fed. USINS Emps., 164 F.3d 936, 945 (5th Cir. 1999) (determining that §

1252(g) prohibited review of an alien's First Amendment claim based on decision to put him into

exclusion proceedings), Vargas v. United States Dep't of Homeland See., NO. 1:17-CV-00356,

2017 WL 962420, at *3 (W.D. La. Mar. 10, 2017) (Claim that ICE "violated her First

Amendment right to free speech by arresting her and initiating her removal after she made

statements to the media    is barred by 8 U.S.C. § 1252(g)."), Kumar v. Holder, NO. 12-CV-

5261 SJF, 2013 WL 6092707, at *6 (E.D.N.Y. Nov. 18, 2013) (Claim of initiation of

proceedings in retaliatory manner "falls squarely within Section 1252(g)     [and] that [t]he

pending immigration proceedings are the appropriate forum for addressing petitioner's retaliation

claim in the first instance."). As such, judicial review of Petitioner's claim that commencement

of removal proceedings is unconstitutional is barred by Section 1252(g) .

              b. 8 U.S.C. § I226(e) bars judicial review offICE 's decision to arrest and detain
                  Petitioner.

       ICE's arrest and detention of Petitioner is authorized by 8 U.S.C. § 1226(a) which
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allows detention "pending a decision on whether [she] is to be removed from the United States.

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8 U.S.C. § 1226(a). This provision "creates authority for anyone 's arrest or release under §

1226-and it gives the Secretary broad discretion as to both actions. ..." Nielsen v. Preap, 586

U.S. 392, 409 (2019) (emphasis in the original). Petitioner's assertion that her detention is

unlawful is not properly before this Court as Congress has made clear that ICE's "discretionary

judgment regarding the application of [Section 1226] shall not be subject to review." 8 U.S.C.

§ 1226(e). Section 1226(e) further commands that "[n]o court may set aside any action or

decision by [ICE] under this section regarding the detention of any alien or the revocation or

denial of bond or parole." Id. As the Supreme Court explained in Demure v. Kim, 538 U.S.

510, 516-17 (2003), this provision blocks judicial review of ICE's discretionary judgments and

decisions to arrest and detain aliens subject to 8 U.S.C. § 1226. See also Jennings v. Rodriguez,

583 U.S. 281, 295-96 (2018) (Section "1226(e) precludes an alien from challenging a

discretionary judgment by the [Secretary] or a decision that the [Secretary] has made regarding

his detention or release.") (cleaned up) .

       Petitioner asserts her detention "is unjustified" because the Government has not

demonstrated that she "needs to be detained." Doc. No. 12, 9173. This Court, however, is not the

forum for such a claim. Instead, Petitioner must request release from an immigration judge, and

if dissatisfied with the outcome, to the BIA.6 She further as sets that her detention is punitive and

that there is no legitimate purpose for detaining her. Id., ii 74. This argument fails, however, as

she is detained for purpose of removal proceedings and the Supreme Court has upheld the

constitutionality of detention such purpose, even when such detention is mandatory and does not




       6 After ICE makes the initial decision to detain an alien, the alien may request a bond
hearing in Immigration Court and can appeal to the BIA if necessary. 8 C.F.R. § 236.l(d)(l)-
(3).

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allow access to a bond hearing, as Petitioner is entitled to in this case. Demote, 538 U.S. at 523

(The "Court has recognized detention during deportation proceedings as a constitutionally valid

aspect of the deportation process."),7 Wong Wing v. U.S. 163 U.S. 288, 235 (1896) (holding

deportation proceedings "would be vain if those accused could not be held in custody pending the

inquiry into their true character."), Hernandez-Lara v. Lyons, 10 F.4th 19, 32 (1st Cir. 2021)

(Recognizing that the "prompt execution of removal orders is a legitimate governmental interest

which detention may facilitate.") (cleaned up), If mandatory detention without access to a bond

hearing passes constitutional muster, then Petitioner's detention, where she can seek a bond

hearing, certainly does not implicate due process concerns. To the extent that Petitioner is basing

her claim on Demure, 538 U.S. at 532-33 (Kennedy, J., concurring) or Zadvydas v. Davis, 533

U.S. 678, 693 (2001), those claims are related to prolonged detention and are not available until

immigration detention exceeds a minimum of six months. See Demure, 538 U.S. at 510 (affirming

constitutionality of detention exceeding six months), Zadvydas, 533 U.S. at 693 (adopting six

months as a presumptively reasonable period of detention following a final order of removal). As

such, this Court lacks jurisdiction over ICE's decision to arrest and detain Petitioner.

       3. Petitioner's challenge to removal from the United States must proceed
          administratively before being raised to the circuit court.

       Petitioner has an opportunity to contest the initiation of her removal proceedings and to

challenge her removal from the United States in Immigration Court, before the BIA, and

eventually, if necessary, before a court of appeal. District courts, however, play no role in such

process as made clear by Congress and the First Circuit. In passing the REAL ID Act, Congress



        7 The Supreme Court has recognized that it "has firmly and repeatedly endorsed the
proposition that Congress may make rules as to aliens that would be unacceptable if applied to
citizens." Id. at 522 (citations omitted).

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prescribed a single path for judicial review of orders of removal entered through the

administrative process: "a petition for review filed with an appropriate court of appeals." 8

U.S.C. § 1252(a)(5), Gicharu v. Carr, 983 F.3d 13, 16 (1st Cir. 2020). A circuit court can

consider "constitutional claims or questions of law" in the petition for review. 8 U.S.C. §

1252(a)(2)(D)~

       Congress, however, channeled to the courts of appeals, not just challenges to the removal

decision, but also to challenges to the removal process. Aguilar et al., v. USICE, et al., 510 F.3d

1, 9 (1st Cir. 2007) (Section 1252(b)(9) "was designed to consolidate and channel review of all

legal and factual questions that arise from the removal of an alien into the administrative

process, with judicial review of those decisions vested exclusively with the courts of appeals.")

(emphasis in the original). Per Section l252(b)(9), "judicial review of all questions of law and

fact, including interpretation and application of constitutional and statutory provisions, arising

from any action taken or proceeding brought to remove an alien from the United States

shall be available only in judicial review of a final order under this section." 8 U.S.C. §

1252(b)(9) (emphasis added), Gicharu, 983 F.3d at 16 ("Adding belt to suspenders, section

l252(b)(9) strips federal courts of jurisdiction to decide legal and factual questions arising from

an alien's removal in any other context, including on a petition for a writ of habeas corpus.")

(emphasis added). The First Circuit has described the expanse of § 1252(b)(9) as "breathtaking"

and "vise-1ike". Aguilar, 510 F.3d at 9. In passing this provision, "Congress plainly intended to

put an end to the scattershot and piecemeal nature of the review precess that previously had

held sway in regard to removal proceedings." Id.

       Pursuant to these provisions, Petitioner must present removability issues related to the

revocation of her visa administratively before any Article III review. As explained earlier, 8



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U.S.C. § l20l(i) allows for judicial review of her visa's revocation in the context of removal

proceedings if the revocation is the sole basis for removal (which it is here) and therefore

Section 1252(a)(5) and (b)(9) channel any claims related to the revocation of her visa to an

immigration judge, the BIA, and eventually to the circuit court. In a recent case filed seeking a

Temporary Restraining Order filed by a student whose visa had been revoked, the plaintiff, Mr.

Taal, alleged that the visa revocation and ICE's initiation of removal proceedings violated his

First Amendment rights. Tool v. Trump, No. 3:25-CV-335 (ECC/ML), 2025 WL 926207, at *2

(N.D.N.Y. Mar. 27, 2025). The district court, however, found that the plaintiff had not

established it had jurisdiction over such claims due to Section 1252(a)(5) and 1252(b)(9). Id.

The court explained that Mr. Taal's "challenge to the basis for commencing his removal

proceedings," "is part of the process by which         removability will be determined, and Tool's

claims therefore arise from the removal proceedings." Id. (cleaned up).

       Because Petitioner can challenge the revocation of her visa administratively and

eventually to a circuit court, this Court lacks jurisdiction over such claims. See Vega-Del Raquel

v. Barr, 568 F. Supp. 3d 73, 76 (D. Mass. 2021) (Explaining that "[o]nly claims that are not

related in any way to the removal precess are beyond the scope of [Section 1252(b)(9)] and

therefore within the jurisdiction of federal courts.").

       C. Petitioner's APA Claim Fails.

       Petitioner fails to demonstrate any merit to her claims brought under the APA and Accardi

v. Shaughnessy, 347 U.S. 260 (1954).        The APA provides a right to judicial review of "final

agency action for which there is no other adequate remedy." Bennett v. Spear, 520 U.S. 154, 175

(1997). However, the APA does not "afford an implied grant of subject-matter jurisdiction




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permitting federal judicial review of agency action" in all circumstances. Calu'ano v. Sanders, 430

U.S. 99, 107 (1977).

       The APA does not apply where another statute "preclude[s] judicial review." 5 U.S.C. §

70l(a)(l). Additionally, Section 70l(a)(2) of the APA precludes judicial review where agency

action is committed to agency discretion by law.         As such, judicial review of the State

Department's revocation of Petitioner's visa is precluded under the APA since 8 U.S.C. § 1201(i)

vests such revocation in the Secretary of State and prohibits judicial review aside from in removal

proceedings. See Mansur v. Albright, 130 F. Supp. 2d 59, 61 (D.D.C. 2001) ("Without such

statutory or regulatory limitation, there is no law to apply to the Secretary's discretionary

revocation, and this court lacks jurisdiction to review the revocation ..."). Similarly, ICE's

decisions to commence removal proceedings and arrest and detain Petitioner were all discretionary

decisions not subject to APA review by this Court on account of 8 U.S.C. §§ 1252(g) and 1226(a),

(e). See Gicharu, 983 F.3d at 20 ("Having concluded that Gicharu's APA claim and habeas claim

both arise form his removal proceedings, we hold that the district court lacked subject matter

jurisdiction over those claims under section 1252(b)(9).").

       Additionally, the APA does not authorize judicial review until "an aggrieved party has

exhausted all administrative remedies expressly prescribed by statute or agency rule." Darby v.

Cisneros, 509 U.S. 137, 146 (1993). Even if Petitioner could identify a final agency action, that

agency action would be directly tied to the State Department's decision to revoke her visa and

ICE's decision to initiate removal proceedings against her, which must be brought in removal

proceedings. Because Petitioner has an alterative forum for her claim, it is not cognizable under

the APA before this Court. See Bennett, 520 U.S. at. 175-77, Pataud v. United States Citizenship

& Immigr. Servs., Bos. Field o, 501 F. Supp. 3d 22, 27 (D. Mass. 2020) (with removal


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proceedings initiated, review of immigration application not available under the APA), A.Z. v.

Nielson, No. CV 18-10511-PBS, 2018 WL 5269990, at *5 (D. Mass. Oct. 23, 2018) (agency

decision denying immigration application is not a "reviewable final agency action as long as the

alien was referred to immigration court for removal proceedings."), Gao v. Napolitano, 2009 WL

961243, at *2 (D. Mass. 2009) (same).

        Petitioner also complains that the notice ICE issued regarding her terminated Student and

Exchange Visitor Information System ("SEVIS") record improperly invoked a ground of

removability from the United States Petitioner refers to as the "Foreign Policy Ground" which is

contained at INA Section 237(a)(4)(C)(i) and that the Secretary of State failed to make the

necessary determination that supports such ground of removability. Doc. No. 12, qlql 79-83. This

claim is without merit, however. ICE did not allege on the NTA that she is subject to removal

under INA Section 237(a)(4)(C)(i) and the charges referenced on the SEVIS notice are net the

basis for her detention or removal. See Dec. No. 12-2, NTA. For these reasons, Petitioner's APA

claims fail.

        D. Petitioner's Request for Bail should be Denied.

        This Court does not have jurisdiction to issue habeas relief in this matter, and therefore

lacks the authority to grant bail or release. Petitioner is correct that the First Circuit has explained

"that a district court entertaining a petition for habeas corpus has inherent power to release the

petitioner pending determination of the merits." Woodcock v. Donnelly, 470 F.2d 93, 94 (1st Cir.

1972) (per curia), see also Savina v. Souza, 453 F. Supp. 3d 441, 453 (D. Mass. 2020) (In face

of COVID-19 pandemic, finding bail appropriate if a habeas petitioner can demonstrate that the

petition raises substantial claims and that extraordinary circumstances exist that make the grant of

bail necessary to make the habeas remedy effective).


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       To whatever extent this Court has the authority to grant bail pending habeas, that authority

is only in aide of this Court's ultimate power to grant habeas relief. So where, as here, this Court

lacks the authority to grant habeas relief in the first place (as explained above), it concomitantly

loses its authority to grant bail. For the reasons argued previously, Petitioner fails to raise

substantial constitutional claims upon which she has a high probability of success. Further,

Petitioner fails to allege that extraordinary circumstances exist making the grant of bail necessary

to render the habeas remedy effective. On this issue, the First Circuit in Woodcock cited "a health

emergency" as exceptional circumstances. 470 F.2d at 94. The Court in Savino found existence

of exceptional circumstances with the COVID-19 "nightmarish pandemic." 453 F. Supp. 3d at

453. Petitioner's asthmatic condition and her desire to speak freely and openly does not represent

exceptional circumstances as her concerns are likely common to all detainees experiencing limits

on freedom and she does not demonstrate that her circumstances make the grant of bail necessary

at this time. Petitioner can also seek a bond hearing with the Immigration Judge at her first hearing

in Immigration Court next week on April 7, 2025.8            Accordingly, the Court must decline

Petitioner's request for interim release during the pendency of this action.

       E. If this Court determines transfer to be in the interest of justice, this Amended
            Petition should be transferred to Petitioner's District of Confinement.

       As explained above, this Court should dismiss the Petition rather than transfer it because

any receiving court, like this Court, would lack jurisdiction to consider Petitioner's claim of



        8 Petitioner cites the Second Circuit's decision in Mapp v. Reno, 241 F.3d 221 (2d Cir.
2001) in support of her request for release on bail, but this decision does not aide Petitioner's
argument. In that case, the court explained the power to admit on bail "is a limited one, to be
exercised in special cases only." Mapp, 241 F.3d at 226. Further, the court qualified this holding
as subject to limits imposed by Congress. Id. at 223. As explained earlier, 8 U.S.C. § 1226(e) is
an "express statutory constraint[]" that limits the Court's authority in this context. Mapp, 241
F.3d at 231

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unlawful arrest and detention and to provide her requested relief. As such, "the interest of

justice" does not compel transfer. 28 U.S.C. § 1404(a). But, if this Court determines otherwise,

the Amended Petition must be transferred to Petitioner's district of confinement, the Western

District of Louisiana. See also 28 U.S.C. § 1406(a1 (recognizing that transfer can occur to "any

district      in which it could have been brought.").

           The Supreme Court has recognized a "limited" exception to the district-of-confinement

rule, namely, only "when the Government moves a habeas petitioner after she properly #les a

petition naming her immediate custodian." Padilla, 542 U.S. at 441 (emphasis added)

(discussing Ex Parte Endo, 323 U.S. 283 (1944)), see Vasquez, 233 F.3d at 697 (Distinguishing

Endo from circumstances in Vasquez where the "petitioner filed for habeas relief in a jurisdiction

where neither he nor his immediate custodian was physically present."), Yancey v. Warden, FMC

Devers, 682 F. Supp. 3d 97, 100 (D. Mass. 2023) (collecting cases for proposition that after a

petitioner properly filed a petition, such "prisoner's transfer after a district court's jurisdiction

attaches does net defeat jurisdiction      as long as there remains in the district a respondent who

can effectuate any court order."). Under those circumstances, the court where jurisdiction

originally vested may retain the case. That limited exception does net apply in this District as

Petitioner never properly filed a habeas petition in this Court.

           This exception would also not apply concerning venue in the District of Vermont because

Petitioner did not properly file her habeas petition with that Court during her brief detention in

Vermont. Where a court never had habeas jurisdiction in the first place because the petitioner

was not in the district when the action was filed, or because the petition was net filed with the

court in the district of confinement, there is nothing to retain. It is true that at the time

Petitioner's original petition was filed, it could have been properly filed in Vermont as that is



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where she was then in custody. But this fact is not dispositive. While this case "could have been

brought" in Vermont at the time of filing, that does not mean it can be heard in the District of

Vermont here and new. And it cannot, under Padilla-or the specific statutory text it

interpreted. Section 2241(a) states that writs of habeas corpus "may be granted by         the district

courts     within their respective jurisdictions." Section 1406(a) can permit transfer but only if

the transferee court would a1s0 have subject matter jurisdiction ever the matter. Nothing in §

1406(a)'s general authorization for transfer displaces those specific conditions for habeas relief

or purports to vest the District of Vermont with jurisdiction that would not otherwise exist. The

District Court in Vermont never had jurisdiction over this matter, and it cannot exercise

jurisdiction over it now, even if this Court transferred the case to it. See Padilla, 542 U.S. at

441-42. Even if that transfer statute technically permitted transfer to Vermont as a matter of civil

procedure, that does not somehow vest the District of Vermont with the statutory authority to

issue a specific remedy-and do so notwithstanding the specific preconditions for such relief.

Put otherwise, for the District of Vermont to award habeas relief under 2241(a), it must have

"jurisdiction" to do so-as construed by Padilla. Nothing in the transfer statutes alters that

limitation.

         The "default rule" articulated in Padilla controls here: "jurisdiction lies in only one

district: the district of confinement". 542 U.S. at 433. This means Petitioner's Amended

Petition should have been filed in her district of confinement, the Western District of Louisiana,

and any transfer of this Petitioner must be to such district.

                                           CONCLUSION

         For these reasons, this Court lacks jurisdiction over the Petitioner and must therefore

deny the request to issue a writ of habeas corpus. Respondents further assert that transfer of this



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Petition, rather than dismissal, would not be "in the interest of justice" because district courts

lack jurisdiction to review the issues presented in the Petition and to order relief as requested.

But, if the Court determines transfer appropriate, such transfer must be to the Western District of

Louisiana, the district of Petitioner's confinement.

                                                       Respectfully submitted,

                                                       LEAH B. FOLEY
                                                       United States Attorney

Dated: April 1, 2025                           By:     Is/Mark Saucer
                                                       Mark Sauter
                                                       Assistant United States Attorney
                                                       United States Attorney's Office
                                                       1 Courthouse Way, Suite 9200
                                                       Boston, MA 02210
                                                       Tel.: 617-748-3347
                                                       Email: mark. sauter@ usdoj. gov


                                 CERTIFICATE OF SERVICE

        I, Mark Sauter, Assistant United States Attorney, hereby certify that this document filed
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEP) and paper copies will be sent to those indicated as non-
registered participants .


Dated: April 1, 2025                           By:     Is/Mark Saucer
                                                       Mark Sauter
                                                       Assistant United States Attorney




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              DECLARATION OF ACTING DEPUTY FIELD OFFICE DIRECTOR
                                      DAVID T. WESLING

       Pursuant to the authority of28 U.S.C. § 1746, I, David T. Westing, a Supervisory Detention

and Deportation Officer for U.S. Department of Homeland Security, U.S. Immigration and

Customs Enforcement, Enforcement and Removal Operations, Burlington, Massachusetts declare

as follows:


   1. I am an acting Deputy Field Office Director ("(a)DFOD") for the U.S. Department of

       Homeland Security, U.S. Immigration and Customs Enforcement ("ICE"), Enforcement

       and Removal Operations ("ERO").

   2. Included in my official duties as (a)DFOD in Burlington, Massachusetts is the
       responsibility for assisting in the managing and monitoring of scheduling and execution of

       removal orders for aliens in ICE custody. I am familiar with ICE policies and procedures

       for detaining individuals to initiate removal proceedings or to effectuate removal orders as

       well as releasing individuals from ICE custody.

   3. I have experience utilizing ICE record systems to obtain information regarding specific

       aliens. ICE maintains electronic and paper records on aliens in the course of its regularly

       conducted business activity. These records are made in the course of regularly conducted

       business activity at or near the time of relevant events by a person with knowledge of these

       events.

   4. In the course of preparing this declaration, I have examined the official records available

       to me regarding the immigration history and custody status of Ms. Rumeysa Ozturk

       ("Petitioner"). I have also discussed this case internally with officials within my office.
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5. Pursuant to its statutory authority contained at 8 U.S.C. § 1226(a), ICE arrested Petitioner

   on March 25, 2025, at 1725 in Somerville, Massachusetts.

6. Prior to the arrest, ICE determined that because there was no available bedspace for

   Petitioner at a facility where she could appear for a hearing with the U.S. Department of

   Justice's Executive Office for Immigration Review in New England, that she would be

   transferred to the South Louisiana Correctional Facility at 3843 East Stagg Avenue in

   Basile, Louisiana where bedspace was determined to be available.

7. Transfers out of state, and out of the ERO Boston area of responsibility, are routinely

   conducted after arrest, due to operational necessity and considerations.

8. Once ICE secured her final bedspace location, ICE made the appropriate flight and custody

   arrangements to transport Petitioner to Louisiana.

9. Upon her arrest by ICE officers on March 25, 2025, Petitioner indicated she was in

   moderately good health with asthma, chronic back pain, and dry eye. This information was

   also relayed to the ERO New Orleans Field Office in Louisiana.

10. On March 25, 2025, at 1749, ICE officials departed Somerville, Massachusetts, and

   transported Petitioner to Methuen, Massachusetts arriving at 1822.

11. On March 25, 2025, at 1836, ICE officials departed from Methuen, Massachusetts and

   transported Petitioner to Lebanon, New Hampshire.

12. On March 25, 2025, at 2103, ICE officials departed Lebanon, New Hampshire to transport

   Petitioner to the ICE Field Office in St. Albans, Vermont.

13. On March 25, 2025, at 2228, Petitioner, arrived at the ICE Field Office in St. Albans,

   Vermont for processing of Petitioner's Notice to Appear (NTA), and was in custody

   overnight at the ICE Field Office in Saint Albans, Vermont.
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14. On March 25, 2025, ICE served Petitioner with an NTA, charging her with removability

   under section 237(a)(1)(B) of the Immigration and Nationality Act (INA). ICE filed that

   NTA at the Oakdale Immigration Court in Oakdale, Louisiana.

15. The NTA orders her to appear before an immigration judge on April 7, 2025, at 8:30am at

   the Oakdale Immigration Court, the immigration facility with jurisdiction over her place

   of detention.

16. On March 26, 2025, at 0400, ICE officials departed the ICE Field Office in St. Albans,

   Vermont and transported Petitioner to the airport in Burlington, Vermont.

17. On March 26, 2025, at 0531, Petitioner departed the airport in Burlington, Vermont with

   ICE officials.

18. On March 26, 2025, at 1435, Petitioner arrived at the airport in Alexandria, Louisianna

   with ICE officials, who transferred her to the custody of ERO New Orleans.

19. As of the date of this declaration, Petitioner is currently detained at in ICE custody in the

   South Louisiana Correctional Facility, located at 3943 East Stagg Avenue in Basile,

   Louisiana.

20. At the time of Petitioner's arrest, there was no known counsel of record. Once ICE official

   obtained Petitioner's counsel's contact information through the filing of the instant habeas

   petition, it was provided to ERO New Orleans to facilitate Petitioner's communication with

   her counsel, once she arrived at her final detention location.

21. Upon her arrival to the South Louisiana Correctional Facility, Petitioner was permitted to

   speak with her counsel.
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I declare under penalty of perjury that the foregoing is true and correct.


Signed on the twenty-seventh day of March 2025




David T. Wesling
Acting Deputy Field Office Director
U.S. Department of Homeland Security
United States Immigration and Customs Enforcement
Burlington, Massachusetts
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                   Exhibit C
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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

                                             )
                                             )
RUMEYSA OZTURK,                              )
                                             )
                      Petitioner             )
                                             )
               v.                            )
                                             )
DONALD J. TRUMP, in his official capacity    )
as President of the United States; PATRICIA  )
HYDE, in her official capacity as the New    )
England Field Office Director for U.S.       )              Case No. 25-cv-10695-DJC
Immigration and Customs Enforcement;         )
MICHAEL KROL, in his official capacity as    )
HSI New England Special Agent in Charge,     )
U.S. Immigration and Customs Enforcement; )
TODD LYONS, in his official capacity as      )
Acting Director, U.S. Immigration and        )
Customs Enforcement; KRISTI NOEM, in her )
official capacity as Secretary of the United )
States Department of Homeland Security; and )
MARCO RUBIO, in his official capacity as     )
Secretary of State,                          )
                                             )
                      Respondents.           )
                                             )
                               MEMORANDUM AND ORDER

CASPER, J.                                                                          April 4, 2025

I.     Introduction

       Petitioner Rumeysa Ozturk ("Ozturk") has filed this habeas petition under 28 U.S.C.

§ 2241 (the "Petition") against the Respondents, United States government officials (collectively,

the "government"). Although the government disputes Ozturk's claims for relief, the following is

undisputed: on March 25, 2025, at approximately 5:25 p.m. without prior notice of the revocation

of her student visa or the grounds asserted for same, Ozturk, a graduate student in Child Study and



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Human Development at Tufts University, was approached and surrounded by six officers (several

wearing masks and/or hoods), stripped of her cellphone and backpack, handcuffed, and taken into

custody in an unmarked vehicle. Despite the best efforts of her counsel and, even the Turkish

consulate to determine her whereabouts, the government did not disclose her place of confinement

until approximately 3:27 p.m. the following day, March 26, 2025. Given the period following her

arrest and detention in which the government did not disclose her whereabouts, counsel for Ozturk

filed the Petition in this Court, the location of her arrest and detention and the only location of her

last known whereabouts, on March 25, 2025 at approximately 10:02 p.m. The government asserts

that this Court lacks jurisdiction over the Petition as Ozturk, unknown to anyone but the

government, was in Vermont, not Massachusetts at the time the Petition was filed and, as of

2:35 p.m. on March 26, 2025, was in Louisiana, where she remains.

       Ozturk alleges that she was targeted, arrested and transferred in retaliation for exercise of

her First Amendment rights (Count I), D. 12 1169, detained in violation of her Fifth Amendment

right to Due Process (Count II),     1] 75, and detained and subject to removal in violation of the

Administrative Procedure Act ("APA") (Count III),        1178. Ozturk requests release from custody

pending adjudication (Count IV).        W 84-86. Although the Petition raises serious issues as to

the conduct of her arrest and detention as alleged in each of these Counts, before reaching the

merits of the Petition, the Court must first address the parties' dispute about its jurisdiction. For

the reasons articulated below, the Court denies the government's motion to dismiss this Petition

or its request to transfer this matter to the Western District of Louisiana and, relying upon the

"interest ofjustice" under 28 U.S.C. § 1631, transfers this matter to the District of Vermont, where

Ozturk was confined overnight at the time that the Petition was filed.




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II.    Factual and Procedural Background

       A.      Ozturk's Arrest and Detention

       Ozturk, a Turkish national and doctoral candidate, entered the United States pursuant to a

validly issued F-1 student visa, D. 12 118, D. 19 at 4, on June 28, 2024, D. 12-2 at 2, see 8 C.F.R.

§ 214.2(fl)(5) (providing that F-1 visas are issued for the duration of a full course of study). On

March 25, 2025, Ozturk's visa was revoked, subjecting her to removal from the United States

pursuant to 8 U.S.C. § 1227(a)(1)(B) as an alien "whose nonimmigrant visa ... has been revoked

under section 1201(i)." D. 19 at 3, D. 12-1 at 2, D. 12-2 at 2.

       Ozturk was given no notice of the revocation of her student visa. D. 12 114. On March 25,

2025, at approximately 5:25 p.m., she was arrested and taken into custody by agents of

Immigration and Customs Enforcement ("ICE") near her residence in Somerville, Massachusetts.

D. 19-1 115, D. 12 W 19-20. A video of Ozturk's arrest shows a hooded officer in plainclothes

approach Ozturk and grab her by the wrists. D. 12 11 19 n.4, (video). Five additional officers

surrounded her, took her cell phone, placed her in handcuffs and took her away in an unmarked

vehicle. 4 W 1, 20.

       At some unspecified time, but prior to her arrest, ICE determined that officers would take

Ozturk to Louisiana and it made flight and custody arrangements for transport. D. 19-1 W 6-8.

According to ICE, Ozturk was to be transferred to Louisiana because "there was no available

bedspace for Petitioner at a facility where she could appear for a hearing" in New England, and

such out-of-state transfers are "routinely conducted after arrest, due to operational necessity

considerations."      W 6-7. The ICE Boston Field Office, located in Burlington, Massachusetts

has administrative and operational authority over ICE arrest, removal and detention operations

throughout New England, including Massachusetts, Connecticut, Maine, New Hampshire, Rhode



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Island and Vermont. D. 26-3 116. ICE has detention facilities for female detainees in multiple

locations in New England.     119. According to affidavits from several experienced New England

immigration attorneys, it is the usual practice to have detainees, arrested on civil immigration

charges, booked and processed at the ICE Boston Field Office in Burlington, Massachusetts before

they are sent to a detention facility. 4 W 10, 12, D. 26-4 W 4-5, D. 26-6 W 5-6.

       After Ozturk's arrest, ICE took her from Somerville, Massachusetts at 5:49 p.m., to

Methuen, Massachusetts, arriving there at 6:22 p.m. D. 19-1 1110. Shortly thereafter, at 6:36 p.m.,

the officers took Ozturk from Methuen, Massachusetts and transported her to Lebanon, New

Hampshire.      ii 11. At 9:03 p.m., ICE officials departed from Lebanon, New Hampshire, which

is approximately five miles from the Vermont border, D. 19 at 5 n. 2, to transport Ozturk to the

ICE Field Office in St. Albans, Vermont, where she arrived at 10:28 p.m. for processing of her

Notice to Appear ("NTA") and was held there in custody overnight, D. 19-1 W 12-13. The next

morning, March 26, 2025, at 4:00 a.m., ICE officers took Ozturk to the airport in Burlington,

Vermont. D. 19-1 1116. The flight transporting Ozturk left Burlington, Vermont at 5:31 a.m., and

arrived in Alexandria, Louisiana at 2:35 p.m. 4 W 17-18. From there, officers transferred her to

the custody of Enforcement and Removal Operation ("ERO") New Orleans.              1] 18. Ozturk is

currently detained in ICE custody in the South Louisiana Correctional Facility in Basile, Louisiana.

41119.
       All of this was unknown to Ozturk's attorney, who did not know her client's whereabouts

upon learning of her arrest. D. 26-2 W 6-7. Close to five hours after that arrest, still having been

unable to confirm her whereabouts and knowing that she had been arrested and detained in

Massachusetts, Ozturk's attorney filed the Petition in this Court on her client's behalf at

approximately 10:02 p.m. D. 12 1121, D. 26-2 112. Shortly thereafter, at approximately 10:12


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p.m., Ozturk's counsel sent of a copy of the Petition to the government's counsel. D. 26-2 1] 3.

Less than an hour later, at approximately 10:55 p.m., this Court (Talwani, J.) issued an order

enjoining the government from moving Ozturk outside of Massachusetts without providing 48

hours' notice to the Court. D. 3 1]4, D. 12 1]22. Per the Court's Order, such notice was to be filed

in writing on the docket in the proceeding and was to "state the reason why the government

believes that such a movement is necessary and should not be stayed pending further court

proceedings." D. 3 114. A copy of this Order was delivered to the U.S. Attorney's Office, the

government's counsel, minutes later, at approximately 10:57 am., via e-mail. 3/25/25 docket

entry, D. 26-2 1]5.

       Even after the Petition was filed on the evening of March 25, 2025, Ozturk's counsel was

unable to determine her whereabouts even in her contact with the government throughout that

evening and much of the next day. D. 26-2 W 6-13. She contacted the ICE ERO in Burlington,

Massachusetts and ICE Homeland Security Investigations in Boston, Massachusetts several times

to request information, but received no response. 4 6. Ozturk's attorney also was unable to

locate her via ICE's Online Detainee Locator System, where the field for "Current Detention

Facility" for Ozturk remained blank.      117. She had several conversations with counsel for the

government who could not confirm Ozturk's whereabouts. D. 26-2 W 9-12, D. 12 1]27. Counsel

was concerned about her client as Ozturk suffers from asthma (a condition apparently disclosed to

officers by Ozturk upon her arrest, D. 19-1 1]9) and she did not have her medication when she was

detained. D. 26-2 1]9, D. 12 1124. A representative of the Turkish consulate even went to the ICE

Boston Field Office in Burlington, Massachusetts, and was reportedly informed Ozturk was not in

that office and ICE could not provide further information about her whereabouts. D. 26-2 1] 8,

D. 12 1127.



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       In light of these difficulties, on the afternoon of March 26, 2025, Ozturk's attorney filed

an emergency motion to compel the government to disclose Ozturk's location and permit counsel

to speak with her that evening. D. 7, D. 26-2 1] 13. In that motion, counsel noted that a U.S.

Senator's office had just informed her that Ozturk had been transferred to Louisiana, but neither

the government's counsel nor ICE had confirmed same. D. 7 at 1. Shortly after Ozturk's counsel

filed this motion, D. 7, at approximately 3:27 p.m. on March 26, 2025, counsel for the government

informed Ozturk's attorney for the first time that Ozturk had been moved to a staging facility in

Alexandria, Louisiana, to be transferred to South Louisiana. D. 9 at 2, D. 12 1130, D. 26-2 1] 14.

Ozturk's attorney was able to speak with Ozturk for the first time since her arrest later that night

at approximately 9:45 p.m., D. 9 at 2, D. 19-1 1121, D. 26-2 1121, and learned that she had suffered

an asthma attack while being transported in custody to Louisiana. D. 12 1131. As directed by the

Court, the government filed a response to Ozturk's motion the next morning, March 27, 2025,

reporting that, as was now noted in ICE's online detainee locator, Ozturk was currently confined

at the South Louisiana Correctional Facility in Basile, Louisiana. D. 9 at 1, where she remains.

D. 19-1 'I 19.

       On March 28, 2025, Ozturk filed an amended Petition, D. 12. In light of same, the Court

gave the government until 5:00 p.m. on Tuesday, April 1, 2025 to respond to it. D. 16. To allow

resolution of its jurisdiction to decide the Petition, the Court ordered that "Ozturk shall not be

removed from the United States until [its] further Order." 4 The government timely filed its

response and requested that this Court dismiss the Petition, or, if the Court determines that transfer

is appropriate, transfer the case to the Western District of Louisiana, the district where Ozturk is

presently confined. D. 19 at 28-29. The Court ordered Ozturk to file a response by 5:00 p.m. the




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following day, Wednesday April 2, 2025. D. 20. The Court heard oral argument from the parties

on April 3, 2025 and took the matter under advisement. D. 41 .

       B.      Ozturk's Revocation and Removal Proceedings

       As mentioned, Ozturk was not given notice of the revocation of her visa and had not

received a copy of the NTA before an immigrationjudge for removal proceedings before her arrest.

D. 12 36. A letter dated March 25, 2025, which was addressed to Ozturk but not provided to her

before her arrest and detention, states that Ozturk's Student and Exchange Visitor Information

System ("SEVIS") designation "has been terminated pursuant to 237(a)(1)(C)(i) and/or

237(a)(4)(C)(i) of the Immigration and Nationality Act." D. 12 1133, D. 12-1 at 2. Also, as the

government recounts, Ozturk was not served with the NTA until after she was in custody. D. 19-

1 W 13-14. The NTA orders Ozturk to appear before an immigration judge in Louisiana on April

7, 2025 for an initial hearing. D. 12 1137, D. 19-1 1115, D. 12-2 at 2.

       Although the basis of her revocation is not cited in the letter to her regarding same, Ozturk

was one of several authors who contributed to an editorial back on March 26, 2024 in the school

newspaper, The Tufts Daily, criticizing the University's dismissal of several resolutions that had

been adopted by the undergraduate student Senate in "a sincere effort to hold Israel accountable

for clear violations of international law." D. 12 11112, 16, D. 26 at 2, D. 26-1 at 67 115. The

President of Tufts University attests that no complaints were filed in its aftermath and there were

multiple editorials published on different sides of this issue. D. 26-1 at67115. As alleged, Ozturk's

current visa status aligns with new policy directives from President Donald Trump who, after

assuming office, signed two Executive Orders aimed at fulfilling a campaign promise to revoke

the visas of students he characterized as "Hamas sympathizers." D. 12 W 40-44. Ozturk's case is

one of several cases in which the Trump Administration has implemented these Executive Orders


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by revoking the immigration status of non-citizens who expressed support for Palestine. D. 12 W

53-57. In such cases, the government has invoked the same provision it cited in its letter to Ozturk,

8 U.S.C. § 1227(a)(4)(C)(i), which provides that "[a]n alien whose presence or activities in the

United States the Secretary of State has reasonable ground to believe would have potentially

serious adverse foreign policy consequences for the United States is deportable." D. 12 ii 50,

D. 12-1 at 2, see, e.g., Chung V. Trump, No. 25-cv-02412-NRB, D. 1 (S.D.N.Y. March 24, 2025),

Khalil V. Joyce, No. 25-cv-01935-JMF, 2025 WL 849803, at *1 (S.D.N.Y. Mar. 19, 2025).

III.   Discussion

       Before a Court can tum to the merits of the Petition, including Ozturk's request for

immediate release, it must determine whether it has jurisdiction over this matter. Ozturk contends

that this is the appropriate tribunal for the Petition, D. 12 W 6-7, D. 26 at 10-16, but if the Court

determines that it is not, the matter should be transferred to the District of Vermont. D. 26 at 17-

19. The government contends that the Petition should be dismissed or, alternatively, transferred

to the Western District of Louisiana. D. 19 at 6-16, 26-28.

       A.      Jurisdiction for the Petition

       Ozturk filed the Petition pursuant to 28 U.S.C. § 2241, which provides in relevant part that

"[w]rits of habeas corpus may be granted by ... the district courts within their respective

jurisdictions" when a petitioner "is in custody in violation of the Constitution or laws or treaties

of the United States." 28 U.S.C. § 2241. "Aliens in custody of federal immigration officials have

traditionally been able to obtain review of immigration decisions by petitioning for a writ of habeas

corpus under what is now § 2241." Goncalves V. Reno, 144 F.3d 110, 120, 133 (1st Cir. 1998)

(concluding that habeas jurisdiction permits a district court to review at least "pure issues of law

concerning the applicability of statutory provisions" to immigration decisions), see Raspoutny V.



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Decker, 708 F. Supp. 3d 371, 379 (S.D.N.Y. 2023) (stating that "Section 2241 permits a federal

court to review 'purely legal statutory and constitutional claims' regarding immigration
proceedings, but jurisdiction 'does not extend to review of discretionary determinations by the IJ

and the BIA"') (quoting Sol V. I.N.S., 274 F.3d 648, 651 (2d Cir. 2001)). Section 2241 is also the

proper vehicle for petitioners challenging their detention by immigration officials pending a

decision in immigration matters. Aguilar V. U.S. Immigr. & Customs Enf"t Div. of Dep't of

Homeland Sec., 510 F.3d 1, 11 (1st Cir. 2007) (noting that "[d]istrict courts retain jurisdiction over

challenges to the legality of detention in the immigration context") (citing Hernandez V.

Gonzales, 424 F.3d 42, 42 (1st Cir. 2005)), Pensamiento V. McDonald, 315 F. Supp. 3d 684, 688

(D. Mass. 2018) (observing that "[d]espite .. . jurisdiction-stripping provisions, the district court

may still review habeas challenges to unlawful immigration detention") (citing Aguilar, 510 F.3d

at 11). Accordingly, the Petition, filed under § 2241, is the correct vehicle for Ozturk to pursue

her challenge to her arrest and detention upon the revocation of her student visa pending removal

proceedings .

        The government, however, contests that the District of Massachusetts is the right court to

hear the Petition.1 As provided by statute, a habeas petition "shall allege the facts concerning the



      1 The government also contends that pursuant to 8 U.S.C §§ 1226(e), 1252(b)(9) and
1252(g), the Court lacks subject matter jurisdiction to review the merits of the Petition. D. 19 at
17-23. As for §§ 1252(b)(9) and (g), the First Circuit has held that where a habeas petition raises
challenges "wholly collateral" to removal, district courts are not precluded from review said
petition. See Aguilar, 510 F.3d at 10, Kong v. United States, 62 F.4th 608, 613 (1st Cir. 2023)
(citing Aguilar, 510 F.3d at 11). Likewise, the First Circuit has held that § 1226(e) does not strip
district courts' ability to review habeas petitions challenging the constitutionality of a petitioner's
detention. See Hernandez-Lara v. Lyons, 10 F.4th 19, 33-34 (1st Cir. 2021) (holding that federal
district courts have jurisdiction to review a habeas petition that challenges "the extent of the
Government's detention authority under the 'statutory framework' as a whole") (citing Jennings
v. Rodriguez, 583 U.S. 281, 295-96 (2018)), Campbell v. Chadboume, 505 F. Supp. 2d 191, 196
(D. Mass. 2007) (stating that Congress did not express an intent in § 1226(e) to preclude judicial

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application's commitment or detention, the name of the person who has custody over him and by

virtue of what claim or authority, if known," 28 U.S.C. §2242, and a writ of habeas corpus granted

by a district court "shall be directed to the person having custody of the person detained." 28

U.S.C. § 2243. "Jurisdiction over the custodian is paramount because '[t]he writ of habeas corpus

does not act upon the prisoner who seeks relief, but upon the person who holds him in what is

alleged to be unlawful custody."' Vasquez V. Reno, 233 F.3d 688, 690 (1st Cir. 2000) (alteration

in original) (quoting Braden V. 30th Jud. Cir. Ct. of Ky., 410 U.S. 484, 494-95 (1973)).

Accordingly and not surprisingly, as a general rule, a petitioner must file a habeas petition in the

district in which they are confined and must name as a respondent the petitioner's immediate

custodian. See Rumsfeld V. Padilla, 542 U.S. 426, 442-47 (2004).

               1.      The General Rule .for Challenging Physical Custody is Against the
                       Immediate Custodian and in the Place of Confnement

       As to the general rule about naming the immediate custodian, the respondent is typically

"the warden of the facility where the prisoner is being held, not the Attorney General or some other

remote supervisory official." Padilla, 542 U.S. at 435, see Vasquez, 233 F.3d at 696 (holding that

"normally" the rule is that the immediate custodian and not the Attorney General is the proper

respondent in immigration habeas challenges).

       Also, as a general matter, a habeas petitioner must file his or her petition in the district of

confinement. Padilla, 542 U.S. at 447 (considering the proper venue for a habeas petition brought

by a United States citizen designated as an "enemy combatant" who was initially detained in the

Southern District of New York ("S.D.N.Y.") and was later transferred to military custody in South



review of constitutional challenges to detention). Here, because the Petition does not challenge
the government's discretionary authority to remove her but the legality of her detention under the
First and Fifth Amendments and the APA, D. 12 W 69, 73-75, 78, the statutes do not strip the
Court's jurisdiction to review the Petition here.

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Carolina and filed a § 2241 habeas petition in S.D.N.Y.).        at 432. The Court concluded that

S.D.N.Y. lacked jurisdiction over Padilla's claim because § 2241 permits a habeas petition only in

"the district of confinement," and no one in S.D.N.Y. served as Padilla's immediate custodian.

at 442. In reaching this conclusion, the Court observed that "Congress added the limiting clause-

'within their respective jurisdictions'-to the habeas statute in 1867 to avert the 'inconvenient [and]

potentially embarrassing' possibility that 'every judge anywhere [could] issue the Great Writ on

behalf of applicants far distantly removed from the courts whereon they sat.          9 79
                                                                                             4 at 442
(alterations in original) (quoting Carbo V. United States, 364 U.S. 611, 617 (1961)). Although

Ozturk's counsel observed at the motion hearing that there is some overlap in the jurisprudence

about the two rules, the Padilla Court addressed them separately to say that the place of

confinement rule, in conjunction with the immediate custodian rule "compose[s] a simple rule ...

[w]henever a § 2241 habeas petitioner seeks to challenge his present physical custody within the

United States, he should name his warden as respondent and file the petition in the district of

confinement." 4 at 447. This rule serves the important purposes of "preventing forum shopping

by habeas petitioners" and avoiding the "inconvenience, expense, and embarrassment" of district

courts with overlapping jurisdiction.

               2.      There are Exceptions to these General Rules

                       a>      As Recognized in Padilla

       Significantly, the Supreme Court in Padilla acknowledged that certain exceptions have

historically applied to both of these general rules. The majority noted exceptions to the immediate-

custodian rule exist when there is no immediate physical custodian with respect to the "custody"

challenged. Padilla, 542 U.S. at 438-49, pointing to the Court's earlier ruling in Braden V. United

States, 410 U.S. 484 (1973). In Braden, the Supreme Court considered a habeas petition filed by



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an Alabama prisoner in the United States District Court for the Western District of Kentucky,

which challenged a detainer lodged against him in Kentucky. Braden, 410 U.S. at 488-89.

Because Braden sought to challenge "a confinement that would be imposed in the future," the

Court concluded the immediate custodian rule did not apply, and Braden was instead "in custody"

in Kentucky by virtue of the detainer,     at 488-89, and while the Alabama warden was the present

custodian, he was not "the person who [held Braden] in what [was] alleged to be unlawful

custody."     at 494-95. The Padilla Court also pointed to the decision in Strait V. Laird, 406 U.S.

341 (1992), Padilla, 542 U.S. at 438-39, where it addressed an inactive reservist's § 2241 petition

seeking relief from future military obligations.        at 344. While the petitioner was domiciled in

California, the Supreme Court reasoned that because he was not challenging any present physical

confinement, his "'nominal' custodian was a commanding officer in Indiana who had charge of

[his] Army records."          In citing these precedents, the Padilla Court concluded that the "legal

control" test could not be applied to physical-custody challenges to allow a convicted prisoner to

name that State or the Attorney General as a respondent to its § 2241 petition, Padilla, 542 U.S. at

439-40, but acknowledged that Braden and Strait remained exceptions to the general rule.

       The Supreme Court also noted an exception to this general rule regarding the immediate

custody in Ex parte Endo, 323 U.S. 283 (1944), in which a Japanese-American citizen interned in

California filed a § 2241 petition in the federal district court in the Northern District of California

to challenge her detention,      at 284-85, Padilla, 542 U.S. at 440. Endo had named her immediate

custodian in California in her petition, but the government later transferred her to Utah. Endo, 323

at 285. The Supreme Court concluded that the subsequent transfer did not divest the Northern

District of California of its jurisdiction. 4 at 304-06. Instead, "when the Government moves a

habeas petitioner after she properly files a petition naming her immediate custodian, the District


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Court retains jurisdiction and may direct the writ to any respondent within its jurisdiction who has

legal authority to effectuate the prisoner's release." Padilla, 542 U.S. at441 (characterizing Endo's

holding, and describing it as "important but limited"), see Chavez-Rivas V. Olsen, 194 F. Supp. 2d

368, 377 (D.N.J. 2002) (concluding that "where an INS-detained habeas petitioner properly files

a habeas petition in the district where he is incarcerated, and the petitioner is subsequently

transferred to a facility outside of that district, the Attorney General ... may be deemed a

'custodian' to allow the original District Court to retain jurisdiction over the habeas petition").

The Supreme Court reasoned that the Endo exception did not apply to Padilla's case because

Padilla had been moved from the S.D.N.Y. to South Carolina before his lawyer had filed his habeas

petition, meaning jurisdiction had never vested in S.D.N.Y.

       In addition, the Supreme Court noted certain exceptions legislated by Congress.        at 443 .

Specifically, the Court in Padilla noted that it had "long implicitly recognized an exception to the

immediate custodian rule in the military context where an American citizen is detained outside the

temltorial jurisdiction of any district court. 79
                                                     4 at 436 n.9. The majority in Padilla also

acknowledged an exception relied upon by the dissent, but disagreed that it was applicable. Citing

Demjanjuk V. Meese, 784 F.2d 1114 (D.C. Cir. 1986) (Bork, J.), the majority observed that

"[w]hen, as in that case, a prisoner is held in an undisclosed location by an unknown custodian, it

is impossible to apply the immediate custodian and district of confinement rules," but concluded

that was not Padilla's case "where the identity of the immediate custodian and the location of the

appropriate district court are clear." Padilla, 542 U.S. at 450 r1.18.

                       b)      As proposed by the concurrence in Padilla

       Although the 5-4 majority in Padilla applied the general rule requiring a habeas petition

challenging physical custody to be filed in the place of confinement, two members of that majority,



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in a concurring opinion, suggested an exception to the general rule that is implicated here. Justice

Kennedy (joined by Justice O'Connor) noted that an exception to filing a petition in the district of

confinement might be warranted "if there is an indication that the Government's purpose in

removing a prisoner were to make it difficult for his lawyer to know where the habeas petition

should be filed, or where the Government was not forthcoming with respect to the identity of the

custodian and the place of detention." Padilla, 542 U.S. at 454 (Kennedy, J., concurring). In such

a case "habeas jurisdiction would be in the district court from whose territory the petitioner had

been removed."       (Kennedy J., concurring). Although this exception was not adopted by the

majority, because Justice Kennedy and Justice O'Connor's votes were "necessary to the formation

of a majority," Justice Kennedy's opinion is at least "given particular weight," Schmitz V. Zilveti,

20 F.3d 1043, 1045 (9th Cir. 1994) (citing Middlesex Mut. Ins. Co. V. Levine, 675 F.2d 1197, 1200

(nth Cir. 1982)), see Bruno & Stillman, Inc. V. Globe Newspaper Co., 633 F.2d 583, 594 (1st Cir.

1980) (relying upon a concurrence after noting that the author's opinion was needed to make a

majority), ANR Coal Co. V. Cogentrix of N.C., Inc., 173 F.3d 493, 499 n.3 (4th Cir. 1999)

(observing that courts have given particular weight to a concurrence because the vote of each

justice who joined that concurrence was "necessary to create a majority"). This is particularly

appropriate where the majority in Padilla did not express disagreement with this exception

proposed by the concurrence, but rather noted that the particular facts of Padilla's case did not

warrant its invocation. Padilla, 542 U.S. at 441-42 (noting, by the majority, that "[t]here is no

indication that there was any attempt to manipulate Padilla's transfer" and "the Government did

not attempt to hide from Padilla's lawyer where it had taken him"). The majority's observation in

Padilla also foreshadowed later cautions by the Supreme Court. For example, in Boumediene V.

Bush, 553 U.S. 723, 732-33 (2008), the Supreme Court concluded that the Military Commissions



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Act, which prohibited detainees classified as enemy combatants from petitioning for habeas

corpus, was an unconstitutional suspension of the right to the writ of habeas corpus. There, the

Court described the writ as "an indispensable mechanism for monitoring the separation of powers"

which it cautioned "must not be subject to manipulation by those whose power it is designed to

restrain."    at 765-66, see Demjanjuk, 784 F.2d at 1116 (noting that "it is essential that petitioner

not be denied the right to petition for a writ of habeas corpus").

       Although the government's brief does not address Justice Kennedy's proposed exception

in the Padilla concurrence, see D. 19 at 13- 15, courts within this Circuit and others have recognized

it even as they have acknowledged that the facts in their particular case did not warrant its

application. See Khalil, 2025 WL 849803 at *6-ll (addressing Justice Kennedy's proposed

exception in the Padilla concurrence), Parker V. Hazelwood, No. l7-cv-484-LM, 2019 WL

4261832, at *3-5 (D.N.H. Sept. 9, 2019) (referencing Justice Kennedy's exception, but noting that

the petitioner has not "identified facts fitting this case into any of the recognized extraordinary

circumstances warranting exception to the jurisdictional rules"), Xia V. King, No. 24-cv-2000-

JRT-DLM, 2025 WL 240792, at *2 (D. Minn. Jan. 17, 2025) (citing Justice Kennedy's

concurrence and suggesting that "[t]he Supreme Court has recognized" an exception to the district

of confinement rule "where the Government was not forthcoming with respect to the identity of

the custodian and the place of detention"), Gayle V. Meade, 614 F. Supp. 3d 1175, 1235 (S.D. Fla.

2020) (noting Justice Kennedy's exception and acknowledging that the Court "might entertain

jurisdiction" over the claims "if there were evidence of efforts on the part of the defendants to

evade jurisdiction of the Court") (quoting McKinnon V. Talladega Cnty., Ala., 745 F.2d 1360,

1363 (11th Cir. 1984)), Sow v. Whitaker, No. 18-cv-11394-GBD-RwL, 2019 WL 2023752, at *5-

6 (S.D.N.Y. May 8, 2019) (noting Justice Kennedy's proposed exception but concluding that the



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petitioner had failed to provide evidence showing that the government either made it difficult for

his lawyer to know where he was or was not forthcoming about his place of detention), Salcedo V.

Decker, No. 18-cv-8801-RA, 2019 WL 339642, at *2 n.3 (S.D.N.Y. Jan. 28, 2019) (citing Justice

Kennedy's exception in Padilla but would continue to apply the general rule "[a]bsent contrary

instruction from the Supreme Court or the Second Circuit and absent any allegation that there was

an 'attempt to manipulate' [the petitioner's] transfer in bad faith"). It is also true, as the court in

Khalil noted, that no court has "ever found that [Justice Kennedy's] exceptions applied" to the

facts of any particular case. Khalil, 2025 WL 849803 at *2.

                       c)      Also as recognized in the First Circuit

       Justice Kennedy's concurrence outlining an exception to the place-of-confinement also

echoed a point the First Circuit had made four years before Padilla in Vasquez, 233 F.3d at 696,

about an exception to the immediate-custodian rule. The case involved an ICE detainee who was

transferred from Massachusetts to Louisiana for removal proceedings following his release from

prison, who then filed a habeas petition in this Court naming the Attorney General as the defendant.

4 at 690. The First Circuit concluded that, as a general rule, the Attorney General is neither the

custodian nor the appropriate respondent in a habeas case, noting that "allowing alien habeas

petitioners to name the Attorney General (over whom all district courts presumably have personal

jurisdiction) as a respondent will encourage rampant forum shopping." 4 at 693-94. The Vasquez

court, however, noted the possibility for exceptions in "extraordinary circumstances. 4 at 696.
                                                                                         79




Such extraordinary circumstances would exist if "INS [the precursor to ICE] spirited an alien from

one site to another in an attempt to manipulate jurisdiction." 4 (concluding that no such

"extraordinary circumstances" existed in the case where "the petitioner has neither marshaled facts

suggesting furtiveness nor made a showing of the elements necessary to demonstrate bad faith").



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Such concerns regarding government conduct are heightened in the case of a habeas petitioner

who is an ICE detainee. Anariba V. Dir. Hudson Cnty. Corr. Ctr., 17 F.4th434, 447 (3d Cir. 2021).

Given ICE's "broad authority to move ICE detainees" without notice, "the Government could

willingly transfer an ICE detainee seeking habeas from continued detention to a jurisdiction that

is more amendable to the Government's position, or the Government could transfer an ICE

detainee for the purpose of intentionally introducing complicated jurisdictional defects to delay

the merits review of already lengthy § 2241 claims. 4 at 447-48.
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       Courts have noted that "extraordinary circumstances" could exist to invoke the exception

articulated in Vasquez. See Tham V. Adducci, 319 F. Supp. 3d 574, 577 (D. Mass. 2018) (citing

Vasquez, 233 F.3d at 696) (concluding that there were "no extraordinary facts ... that would

warrant deviating from the immediate custodian rule"), Chavez-Rivas, 194 F. Supp. 2d at 376

(discussing exception under Vasquez, but disagreeing that "a petitioner should shoulder the burden

of proving the Government acted in bad faith" in invoking same and that "[w]here transfer is not

the result of the petitioner's misconduct, [the court] would not impose such a burden upon him"),

Gayle, 614 F. Supp. 3d at 1235 n.23 (internal citation and quotation marks omitted) (some

alterations in original) (citing Vasquez and other cases to suggest that "if Petitioners could

satisfactorily prove their hunch ['that the ICE-facilitated transfers may be part of a shell game

designed to strip the Court ofjurisdiction'], then the Court might entertain jurisdiction over [their]

claim[s] if there were evidence of efforts on the part of the defendants to evade the jurisdiction of

the Court").

       A court has invoked Vasquez in at least two cases to allow a petitioner to name the Attorney

General as the respondent where ICE moved the petitioner from the district immediately after

detention. Farah V. I.N.S., No. 02-cv-4725-DSD-RLE, 2002 WL 31828309, at *2-3 (D. Minn.


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Dec. 11, 2002), de Jesus Paiva V. Aljets, No. cv-036075-DWF-AJB, 2003 WL 22888865, at *4

(D. Minn. Dec. 1, 2003). In those cases, the court expressed concern that such a practice by ICE

would allow it "to forum shop, intentionally or not." Farah, 2002 WL 31828309, at *3 (citing

Alcaide-Zelaya v. McElroy, No. 99-cv-5102-DC, 2000 WL 1616981, at * 5 (S.D.N.Y. Oct. 27,

2000)), de Jesus Paiva, 2003 WL 22888865, at *4 (observing that "[t]o now hold that Petitioners

may only file their Petition in the state that the ICE determines to send them would be to allow the

ICE to forum shop") (citing Alcaide-Zelaya, 2000 WL 1616981, at *5). That the "extraordinary

circumstances" described in Vasquez, 233 F.3d at 696, has not often been invoked reflects that

such circumstances are rare, not that rare cases never present themselves .

               3.      Considering the Immediate-Custodian Rule in this Case2

       The government here points to several cases to contend that the course of events

surrounding Ozturk's arrest and detention do not rise to the level of "furtiveness" or "bad faith"

that concerned the First Circuit in applying the immediate-custodian rule in certain "extraordinary

circumstances" in Vasquez. First, it points to Ruvira-Garcia V. Guadian, No. 20-cv-2179, 2020

WL 1983875, at *2 (N.D. Ill. Apr. 17, 2020), where the district court in the Northern District of

Illinois, petitioner's place of residence, concluded that it did not have jurisdiction over the

petitioner who was initially detained in Wisconsin, transferred to Texas and ultimately detained in

Oklahoma.    4 at *2-3. There, although the record reflected that the petitioner was not in the
district at the time of filing, there was no suggestion that her whereabouts were unknown at the


        2 Petitioner suggests that the Court does not need to reach the exceptions because, at the
time the Petition was filed, Ozturk was in transit in Vermont, making her immediate custodian the
ICE New England Field Officer Director, who is based in Massachusetts. D. 26 at 12-13. Circuit
law does not appear to support this position. See Vasquez, 233 F.3d at 695 (addressing Endo and
Strait and U.S. ex rel. Circella V. Sahli, 216 F.2d 33, 35 (7th Cir. 1954) and summing up that "this
trilogy of cases simply does not give a legitimate judicial imprimatur to a freewheeling definition
of 'custodian' such as the petitioner champions").

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time that her Petition was filed or that the government did not disclose her whereabouts when her

counsel inquired about same. The government also cites Fuentes V. Choate, 24-cv-01377-NYW,

2024 WL 2978285, at *9-10 (D. Colo. June 13, 2024), in which the court addressed the practical

difficulties of a habeas petitioner challenging her detention by ICE where she was moved from a

facility in Colorado to a staging facility in Arizona for eventual transfer to Texas.     at *2. The

court concluded that it did not have jurisdiction when she was detained in Arizona and it was "not

this Court's duty to ascertain or identify an Arizona official" to be named as the correct respondent.

   at *9. Recognizing petitioner's argument that she was only in Arizona temporarily and that

this "present[ed] unusual logistical circumstances that likely hindered counsel's ability to act

swiftly and still within the bounds of permissible habeas jurisdiction," the court declined to apply

the exception in Justice Kennedy's concurrence, noting an absence of "authority from the Tenth

Circuit-or weight of authority from other circuit courts-that might justify the application of

such exception (however logical) by this Court." Li. at * 10. In contrast, here, in the First Circuit,

this Court must consider Vasquez. Moreover, other than the transport of the petitioner through

several states en route to another detention facility in Oklahoma, there is no suggestion in that case

that the petitioner's whereabouts were unknown to her counsel at the time she filed the habeas

petition.     In fact, the court in Fuentes noted that petitioner's counsel was at least informed of

her transfer to Texas as it was occurring. Id.

        Here, the government attests that "[t]ransfers out of state, and out of the ERO Boston area

of responsibility, are routinely conducted after arrest, due to operational necessity and

considerations." D. 19-1 at 7. But even accepting that it is routine to move detainees between

different locations before transport to their final destination, see Sow, 2019 WL 2023752, at *1-2

(reflecting petitioner's transport between locations in New York and New Jersey before


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Louisiana), the government here provides no information about whether it is routine to move

detainees to various locations in a single day or to have a detainee on a plane heading out of the

region within twelve hours of her arrest.

       Moreover, unlike the circumstances in Vasquez, 233 F.3d at 696, the petitioner has

"marshaled facts" at least showing "furtiveness" on the part of the government here.       Ironically,

the government (at least in its papers) faulted Ozturk for failing to file the Petition in the district

of her confinement and failing to name her immediate custodian, D. 19 at 6-13, despite the fact

that Ozturk was not permitted to communicate her whereabouts as she was transported from

Somerville, Massachusetts to Methuen, Massachusetts to Lebanon, New Hampshire and then to

Saint Albans, Vermont, see D. 26-7 ii 6 (Ozturk attesting that she kept asking to call her attorney

but was told that she would be allowed to do so "once [she] reached [her] final destination").

Ozturk's attorney did not and could not have known her place of confinement or her immediate

custodian at the time she filed the Petition, and even in the aftermath of that filing, the government

did not disclose Ozturk's whereabouts in Vermont or her planned transport to Louisiana until a

day later after she arrived in Louisiana. D. 19-1 1121 .3

       Ozturk has filed multiple affidavits from experienced, immigration attorneys in the New

England area that attest that the sequence of events here was far from routine, even putting aside

the circumstances of her arrest. According to these sworn statements, most ICE detainees arrested

on civil immigration warrants are booked and processed in the ICE ERO Field Office in

Burlington, D. 26-3 1] 10, D. 26-4 5, D. 26-6 6, and then are transferred to a detention facility.



       3 That ICE has an internal policy that it will notify a detainee's attorney of record of a
transfer "as soon as practicable on the day of the transfer, but in no circumstances later than twenty
four (24) hours after the transfer occurs," U.S. ICE, Policy No. 11022. l(5.3)(2)(a)(20l2), does not
counter this conclusion here where the government was aware that Ozturk and her counsel
affirmatively had requested such contact before the expiration of this time period.

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D. 26-6 1]6. This was not the case with Ozturk, who was booked and processed in another city in

Massachusetts, Methuen, transported to New Hampshire and then to Vermont. Although ICE

detainees might be moved during custody, D. 19-1 117 (the Acting Deputy Field Office Director

for ICE ERO attesting that "[t]ransfers out of state, and out of the ERO Boston area of

responsibility, are routinely conducted after arrest, due to operational necessity and
considerations"), it is unusual for that to occur within a few hours. D. 26-3 1] 11, D. 26-4 1] 7,

D. 26-5 11 13, D. 26-6 1] 7. Women who are detained by ICE in the region are regularly detained

at facilities in New Hampshire (Strafford Jail), Rhode Island (Wyatt) and Maine (Cumberland

County Jail), D. 26-4 11 6, and another facility in Vermont (Chittenden Regional Correctional

Facility). D. 26-6 119. At least as to the facility in Maine (Cumberland County Jail), there was

space for female detainees on March 25 and 26, 2025. D. 26-5 1112. An experienced immigration

attorney working in Vermont attested that she has only experienced people being detained at the

St. Albans office upon initial arrest in Vermont and has "never once encountered the case of a

detained person who is being transferred into Vermont for the purposes of continued ICE

detention" and that it is "even more extraordinary for a person to be transferred into the St. Albans

ICE office, which is a government office and not a detention facility." D. 26-71]8. The irregularity

of the arrest, detention and processing here is coupled with the failure to disclose Ozturk's

whereabouts even after the government was aware that she had counsel and the Petition was filed

in this Court.    Moreover, contrary to counsel's arguments at the motion hearing, that the

government had a pre-arranged plan for Ozturk's detention and transport before the agents

effectuated her arrest does not necessarily show lack of attempt to manipulate jurisdiction where

that plan continued (apparently uninterrupted) even after the government was aware of the Petition.




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        Even if Vasquez's extraordinary circumstances exception to the immediate custodian rule

did not apply here, there is also an exception to the immediate-custodian rule where the custodian

of the petitioner is unknown at the time that the Petition is filed. As discussed above, in

Demjanjuk, 784 F.2d at 1116, where the petitioner was being held by the U.S. Marshal in a

confidential location, the court treated the Attorney General as the custodian and concluded that

jurisdiction would lie in the D.C. Circuit at the time that the Petition was filed. 4, Khalil v. Joyce,

No. 25-cv-01963-MEF, 2025 WL 972959, at *28-37 (D.N.J. Apr. 1, 2025) (discussing

Demjarlkuk).4 Similarly, where ICE took Ozturk into custody in Massachusetts, but transported

her to an unknown place, she cannot be faulted for filing the Petition in this Court against the

Respondents with national and regional supervision over ICE. This is particularly true here where

counsel for Ozturk could not have known to name her client's immediate custodian in Vermont,

her location at the time the Petition was filed.

                4.      Considering Place-of-Confinement Rule in this Case

        The same is true as to the general rule under Padilla and its progeny that a Petition should

be filed in the petitioner's place of confinement, which we now know was the District of Vermont

for Ozturk. See Demjanjuk, 784 F.2d at 1116. Despite her counsel's argument at the motion

hearing, whatever the analytical overlap between this general rule and the immediate-custodian

rule may be, the Court must address both rules in determining its jurisdiction. Padilla, 542 U.S. at




        4 At oral argument, in addressing Demjanjuk, counsel for the government argued that even
if it were true that the immediate custodian was unknown at the time the Petition was filed on
March 25, 2025, the Court should focus on the fact that this was no longer the case when the
amended Petition was filed on March 28, 2025. Such an approach is contrary to "relate-back"
rules that apply in a civil case such as this one, Jaynes V. Grant, No. 03-cv-11582-JLT, 2010 WL
4181241, at *2-3 (D. Mass. Oct. 19, 2010) (concluding that an amended habeas petition relates
back to the original filing), particularly when the critical focus is at the time the Petition was filed.
See Padilla, 542 U.S. at 441 (discussing Endo. 323 U.S. at 304-06).

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447. It is the irregularity of the processing and transport in a single day and failure to disclose

Ozturk's whereabouts discussed above as to Vasquez that also implicates the Padilla exception to

the place-of-confinement rule proffered by Justice Kennedy. Justice Kennedy's remedy in this

scenario would have been that "habeas jurisdiction would lie in the district or districts from which

[the detainee] had been removed." Padilla, 542 U.S. at 454. This is the remedy that Ozturk seeks

in the first instance, but argues in the alternative that transfer to the District of Vermont, D. 26 at

9, would be appropriate. This is perhaps in Ozturk's recognition of the fact that no court has yet

relied upon the Padilla concurrence as the basis for jurisdiction. Khalil, 2025 WL 849803, at *2.

Moreover, if the purpose of any exception to the place-of-confinement rule is to curb forum

shopping by the government, see Anariba, 17 F.4th at 447, the transfer of this matter to the federal

district court in the District of Vermont, the place that Ozturk was confined at the time that the

Petition was filed, does so. See Boumediene, 553 U.S. at 779 (observing that "common-law habeas

corpus was, above all, an adaptable remedy"), Khalil, 2025 WL 972959, at *35 (noting that "[p]er

the Supreme Court, courts must apply the habeas statute with an eye to the underlying equitable

nature of the writ") (and cases cited).

       B.       Transfer to Vermont is Warranted Here

       In the context of a habeas petition, the jurisdictional rules are "not jurisdictional in the

sense of a limitation on subject-matter jurisdiction," but rather akin to "personal jurisdiction or

venue." Padilla, 542 U.S. at 451 (Kennedy, J., concurring), Tham, 319 F. Supp. 3d at 576 n. 2.

There are a number of transfer statutes, 28 U.S.C. §§ 1404(a), 1406(a), 1631, but the most

applicable here appear to be the latter two, §§ l406(a) and 1631. If a case is filed in the wrong

venue, 28 U.S.C. § 1406(a) permits the district court in the district in which the case was filed to

"transfer such case to any district or division in which it could have been brought" if such transfer



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serves "the interest of justice."        Tham, 319 F. Supp. 3d at 577. If "there is a want of

jurisdiction," as the Court concludes here, 28 U.S.C. § 1631 permits transfer of a civil action to

any court "in which the action ... could have been brought at the time it was filed or noticed," if

such transfer "is in the interest of justice." In Hoffman V. Blaski, 363 U.S. 335, 342-44 (1960),

the Supreme Court considered whether the phrase "where it might have been brought" in § 1404(a)

required the transferee court to have jurisdiction at the time the original action was filed, or whether

it permitted transfer to a court that would have had jurisdiction at the time of the transfer only.

The Court concluded that the "unambiguous, direct (and) clear" language of the transfer statute

permitted transfer only in the former case.        Courts have concluded that Hoffman's limitation

also applies to the "could have been brought" language in §§ l406(a) and 163 l. See, e.g., Gonzalez

V. Grondolsky, 152 F. Supp. 3d 39, 47 (D. Mass. 2016).

       "Want of jurisdiction" under § 1631 means a lack of either personal or subject matter

jurisdiction. See HC&D, LLC V. Precision NDT & Consulting, LLC, 698 F. Supp. 3d 180, 197-

98 (D. Mass. 2023) (internal citation omitted). Once transferred, "the action or appeal shall

proceed as if it had been filed in or noticed for the court to which it is transferred on the date upon

which it was actually filed in or noticed for the court from which it is transferred." 28 U.S.C.

§ 1631, see Khalil, 2025 WL 972959, at *14-20 (discussing § 1631). Such transfer treats the

transferred case as if it was filed at the time of the original filing, here, it would treat the Petition

as filed in Vermont on March 25, 2025 at 10:02 p.m. Gonzalez, 152 F. Supp. 3d at 47, see Miller

V. United States, 753 F.2d 270, 276 (3d Cir. 1985), Martinez-Nieto V. Att'y General, 805 F. App'x

131, 135 (3d Cir. 2020).

        The First Circuit has recognized that § 1631 applies in the context of habeas petitions. See

Tham, 319 F. Supp. 3d at 577-78 (transferring a habeas petition pursuant to § 1631 and noting that



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"there is a rebuttable presumption in favor of transferring a case instead of dismissing it"), Del

Carvalho V. Muniz, No. 21-cv-11946-WGY, 2021 WL 5811301, at *1 (D. Mass. Dec. 7, 2021)

(transferring a habeas petition to New Hampshire pursuant to § 1631 and "in the interest of

justice").

          Under either statute, however, an action may only be transferred to the court where it

"could have been brought." 28 U.S.C. §§ 1406(a), 1631.5 Here, because Ozturk was confined

overnight in Vermont when the Petition was filed, the District of Vermont is the proper transferee

court.6

Iv.       Conclusion

          For the reasons articulated below, the Court DENIES the government's motion to dismiss

this Petition and its alternative request to transfer this matter to the Western District of Louisiana.

The Court ALLOWS the alternative relief sought by Ozturk and transfers this matter "in the

interest ofjustice" pursuant 28 U.S.C. § 1631 to the U.S. District Court for the District of Vermont.

          To ensure that Ozturk has an opportunity to have the Petition considered by the District of

Vermont, and to preserve the status quo, this Court's March 28, 2025 Order enjoining the

government from removing her from the United States, D. 16, shall remain in effect unless and

until the transferee court orders otherwise. See Khalil, 2025 WL 849803, at *14 (ordering same

upon transfer) .

          So Ordered.


       5 For at least this reason, the Court rejects the government's argument that if it did not
dismiss the Petition, it should instead transfer it to the Western District of Louisiana, where Ozturk
was not detained at the time of the filing of the Petition.
         6 It will be for the District of Vermont to determine if it has jurisdiction over Ozturk's
Petition notwithstanding her later transfer to Louisiana after the filing of the Petition that is now
transferred there. See Khalil V. Joyce, 2025 WL 972959, at *24-38 (taking transferred petition as
filed in New Jersey at the time it had been filed in S.D.N.Y.).

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                                      /s Denise J. Casper
                                      United States District Judge




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